Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 1 of 33




  EXHIBIT 2
              Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 2 of 33




                                           Sciortino v. PepsiCo, Inc.
                           United States District Court for the Northern District of California

                                       June 5, 2015, Decided; June 5, 2015, Filed

No. C-14-0478 EMC; No. C-14-0713 EMC; No. C-14-1099 EMC; No. C-14-1105 EMC; No. C-14-1192 EMC; No. C-
                                  14-1193 EMC; No. C-14-1316 EMC; 3:14-cv-01316

Reporter
108 F. Supp. 3d 780 *; 2015 U.S. Dist. LEXIS 73336 **

STACY SCIORTINO, et al., Plaintiffs, v. PEPSICO,               For Souzan Aourout, Plaintiff (3:14-cv-00478-EMC):
INC., Defendant.                                               Nick Suciu, III, Barbat, Mansour & Suciu PLLC, Detroit,
                                                               MI.
Subsequent History: Motion granted by, Reserved by
                                                               For Pepsico, Inc., Defendant (3:14-cv-00478-EMC):
Sciortino v. Pepsico, Inc., 2015 U.S. Dist. LEXIS 189760
                                                               Christopher Chorba, Lauren Margaret Blas, Gibson,
(N.D. Cal., Nov. 30, 2015)
                                                               Dunn and Crutcher LLP, Los Angeles, CA; Sarah
Motion granted by Sciortino v. PepsiCo, Inc., 2016 U.S.        Esmaili, Trenton Herbert Norris, Arnold & Porter
Dist. LEXIS 83937 (N.D. Cal., June 28, 2016)                   LLP, [**2] San Francisco, CA.

                                                               For Paul R. Riva, Danielle Ardagna, Interested Parties
Counsel: [**1] For Stacy Sciortino, Individually and on
                                                               (3:14-cv-00478-EMC): Roy Arie Katriel, The Katriel Law
Behalf of All Others Similarly Situated, Plaintiff (3:14-cv-
                                                               Firm, La Jolla, CA.
00478-EMC): Marc Lawrence Godino, LEAD
ATTORNEY, Glancy Prongay & Murray LLP, Los                     For Regina Langley, Interested Party (3:14-cv-00478-
Angeles, CA; Kiley Lynn Grombacher, Stanley Donald             EMC): Azra Z. Mehdi, The Mehdi Firm PC, San
Saltzman, William Anthony Baird, Marlin & Saltzman             Francisco, CA.
LLP, Agoura Hills, CA; Marcus Joseph Bradley,
                                                               For Regina Langley, on Behalf of Herself and All Others
Schwartz, Daniels & Bradley, Agoura Hills, CA.
                                                               Similarly Situated, Plaintiff (3:14-cv-00713-EMC): Azra
For Arielle Weinstock, Individually and on Behalf of All       Z. Mehdi, The Mehdi Firm PC, San Francisco, CA.
Others Similarly Situated, Plaintiff (3:14-cv-00478-
                                                               For PepsiCo, Inc., Defendant (3:14-cv-00713-EMC):
EMC): Kiley Lynn Grombacher, Stanley Donald
                                                               Christopher Chorba, LEAD ATTORNEY, Gibson, Dunn
Saltzman, William Anthony Baird, Marlin & Saltzman
                                                               & Crutcher LLP, Los Angeles, CA; Sarah Esmaili,
LLP, Agoura Hills, CA; Marcus Joseph Bradley,
                                                               Trenton Herbert Norris, Arnold & Porter LLP, San
Schwartz, Daniels & Bradley, Agoura Hills, CA.
                                                               Francisco, CA.
For Mary Hall, Plaintiff (3:14-cv-00478-EMC): Daniel L.
                                                               For Mary Hall, on behalf of herselfd and all others
Warshaw, LEAD ATTORNEY, Alexander Robert
                                                               similarly situated, Plaintiff (3:14-cv-01099-EMC): Bobby
Safyan, Pearson, Simon & Warshaw, LLP, Sherman
                                                               Pouya, Daniel L. Warshaw, Pearson Simon & Warshaw,
Oaks, CA; Melissa Weiner Wolchansky, Halunen And
                                                               LLP, Sherman Oaks, CA; Bruce Lee Simon, Pearson
Associates, Minneapolis, MN.
                                                               Simon & Warshaw, LLP, San Francisco, CA; Melissa


                                                    Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 3 of 33
                                                                                                         Page 2 of 32
                            108 F. Supp. 3d 780, *780; 2015 U.S. Dist. LEXIS 73336, **2


Weiner Wolchansky, Halunen And Associates,                   cv-01316): Jon A Tostrud, LEAD ATTORNEY, Tostrud
Minneapolis, MN.                                             Law Group, P.C., Los Angeles, CA.

For Pepsico, Inc., Defendant (3:14-cv-01099-EMC):            For Pepsico Inc, Defendant (3:14-cv-01316):
Christopher Chorba, LEAD ATTORNEY, Gibson, Dunn              Christopher Chorba, Gibson, Dunn & Crutcher LLP, Los
& Crutcher LLP, Los Angeles, CA.                             Angeles, CA.

For Souzan Aourout, on behalf of herself and all others      For Thamar Santisteban Cortina, on behalf of herself
similarly situated, Plaintiff (3:14-cv-01105-EMC):           and all others similarly situated, Plaintiff (3:14-cv-02023-
Bassma Zebib, LEAD ATTORNEY, [**3] Law Office of             EMC): Courtland W Creekmore, LEAD ATTORNEY,
Bassma Zebib, Los Angeles, CA; Jonathan Shub, LEAD           The Weston Firm, San Diego, CA; John J. Fitzgerald,
ATTORNEY, Kohn, Swift & Graf, P.C., Philadelphia, PA;        IV, LEAD ATTORNEY, The Law Office of Jack
Alyson Oliver, Oliver Law Group P.C., Troy, MI; Nick         Fitzgerald, PC, San Diego, CA; Matthew R. Bainer,
Suciu, III, Barbat, Mansour & Suciu PLLC, Detroit, MI.       Scott Edward Cole, LEAD ATTORNEYS, Scott Cole &
                                                             Associates, APC, Oakland, CA.
For Pepsico Inc, Defendant (3:14-cv-01105-EMC):
Christopher Chorba, LEAD ATTORNEY, Gibson, Dunn              For Pepsico Inc, Defendant (3:14-cv-02023-EMC):
& Crutcher LLP, Los Angeles, CA.                             Christopher Chorba, LEAD ATTORNEY, Gibson Dunn &
                                                             Crutcher LLP , Los Angeles, CA; Trenton Herbert
For Kelly Ree, on Behalf of Herself and All Other
                                                             Norris, LEAD ATTORNEY, Arnold & Porter LLP, San
Persons Similarly Situated, Plaintiff (3:14-cv-01192-
                                                             Francisco, CA; Andrew Santo Tulumello, Gibson Dunn
EMC): Lionel Zevi Glancy, LEAD ATTORNEY, Marc L.
                                                             & Crutcher LLP, Washington, DC; Sarah Esmaili, Arnold
Godino, Glancy Binkow & Goldberg LLP, Los Angeles,
                                                             & Porter LLP, San Francisco, CA.
CA; Michael M. Goldberg, LEAD ATTORNEY, Glancy
Prongay & Murray LLP, Los Angeles, CA.
                                                             Judges: EDWARD M. CHEN, United States District
For Pepsico Inc, Defendant (3:14-cv-01192-EMC):              Judge.
Christopher Chorba, Gibson, Dunn & Crutcher LLP, Los
                                                             Opinion by: EDWARD M. CHEN
Angeles, CA.

For Kent Ibusuki, on behalf of himself and all others
                                                             Opinion
similarly situated, Plaintiff (3:14-cv-01193): Amir David
Benakote, LEAD ATTORNEY, Kirtland and Packard, El
Segundo, CA; Behram Viraf Parekh, Michael Louis
                                                              [*785] ORDER GRANTING IN PART AND DENYING
Kelly, Heather Baker Dobbs, Kirtland & Packard LLP, El
                                                             IN PART DEFENDANT'S MOTION TO DISMISS
Segundo, CA.

For PepsiCo, Inc., a North Carolina Corporation,
Defendant (3:14-cv-01193): Christopher Chorba, LEAD          (Docket No. 82)

ATTORNEY, Gibson, Dunn & Crutcher LLP, Los
                                                             Pending before the Court is Defendant Pepsico, Inc.'s
Angeles, CA.
                                                             ("Pepsi's") [**5]   Motion      to    Dismiss     Plaintiffs'
For Williamson [**4] Granados, on Behalf of Himself          Consolidated Amended Complaint. Docket No. 82
and All Other Persons Similarly Situated, Plaintiff (3:14-   ("Motion"). The operative complaint is the Consolidated


                                                     Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 4 of 33
                                                                                                             Page 3 of 32
                              108 F. Supp. 3d 780, *785; 2015 U.S. Dist. LEXIS 73336, **5


Amended Complaint ("CAC"). Docket No. 68. For the                Consumer Reports found that the amounts of 4-MeI in
reasons discussed herein, the Court GRANTS in part               the Pepsi Beverages were higher than in other soft
and DENIES in part Pepsi's Motion to Dismiss.                    drinks tested. Id. ¶ 37. The Consumer Reports testing
                                                                 revealed amounts of 4-MeI in a can or bottle of Pepsi
                                                                 Beverages that exceeded 29 micrograms — the safe
I. FACTUAL & PROCEDURAL BACKGROUND
                                                                 harbor for daily exposure established by Proposition 65
Nine putative class actions were filed against Defendant         below which the Proposition deems there is "no
PepsiCo, Inc. ("Pepsi"). The Court appointed counsel for         significant risk." Id. ¶¶ 2; 26, 37-38. Consumer Reports's
Plaintiffs Hall and Ree as interim lead counsel and              findings as to the levels of 4-MeI in a single can or bottle

consolidated the actions.1 Docket No. 65. Pending                were significant, because studies have concluded that

before the Court is a motion to dismiss the CAC in the           soda consumers typically drink more than one [**7]

consolidated actions, which Plaintiffs Mary Hall, Kent           twelve-ounce serving per day. Id.

Ibusuki, and Kelly Ree ("Plaintiffs") have brought on
                                                                 According to the CAC, Pepsi made statements in its
behalf of themselves and a putative class of California
                                                                 Annual Reports from 2010 to 2013 that suggested that it
consumers who purchased Pepsi, Diet Pepsi, or Pepsi
                                                                 knew that it was subject to Proposition 65. Id. ¶ 30.
One (the "Pepsi Beverages") at any time after January
                                                                 Additionally, in a public statement, Pepsi said:
23, 2010 ("Class").
                                                                     [W]hen the regulatory requirements on 4-MEI
The     CAC    concerns     Pepsi's    alleged    "intentional
                                                                     changed in California, PepsiCo moved immediately
concealment and/or failure to warn consumers in
                                                                     to meet the new requirements and in order to
California that [the Pepsi Beverages] contain a harmful
                                                                     maintain a harmonized supply chain globally
and [**6]      carcinogenic       chemical       called     4-
                                                                     committed to rolling out the changes across the rest
Methylimidazole [*786] ("4-MeI") at levels above the
                                                                     of the U.S. and internationally. The work has been
safety threshold set by the State of California in
                                                                     completed in California and several other U.S.
Proposition 65." CAC ¶ 1. The Pepsi Beverages contain
                                                                     states, and we are on track to complete the roll out
caramel coloring, which makes the cola products brown.
                                                                     by February 2014.
Id. at ¶ 16. Only the Class III and Class IV types of
caramel coloring are created using a process that                Id. ¶ 31 (emphasis in original). The CAC alleges that,
produces 4-MeI as a byproduct. Id. ¶¶ 18-19. Pepsi               contrary to its stated position, Pepsi did not comply with
uses Class IV caramel coloring in the Pepsi Beverages.           Proposition 65 and continued selling Pepsi Beverages
Id. ¶ 19.                                                        with levels of 4-MeI in excess of Proposition 65's safe
                                                                 harbor. Id. ¶¶ 32-33. The CAC charges that this public
In January of 2014, Consumer Reports published the
                                                                 statement, among others, misled consumers into
results of tests it conducted in 2013 on a number of soft
                                                                 thinking the Pepsi Beverages were safe and complied
drinks, including the Pepsi Beverages. Id. ¶¶ 34-35.
                                                                 with all relevant California regulations. Id.; see also ¶¶
                                                                 5-6, 41-42, 44-49.

1 The   Court severed the Riva case from the consolidated        Plaintiffs Hall and Ibusuki have alleged a violation of
actions to allow Plaintiffs Riva and Ardagna an opportunity to   Proposition 65. The Plaintiffs and the Class have
plead a personal injury claim seeking medical monitoring.

                                                     Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 5 of 33
                                                                                                         Page 4 of 32
                            108 F. Supp. 3d 780, *786; 2015 U.S. Dist. LEXIS 73336, **7


also [**8] alleged a violation of the Consumer Legal          complaint must "contain sufficient factual matter,
Remedies Act, Cal. Civ. Code § 1750, et seq., based on        accepted as true, to 'state a claim to relief that is
Pepsi's alleged active concealment and failure to warn        plausible on its face.'" Ashcroft v. Iqbal, 556 U.S. 662,
that Pepsi Beverages contain 4-MeI in excess of the           678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting
levels permitted by Proposition 65. Finally, the Plaintiffs   Twombly, 550 U.S. at 570). "A claim has facial
and the Class have also alleged that Pepsi engaged in         plausibility when the plaintiff pleads factual content that
unfair, unlawful, and fraudulent business practices in        allows the court to draw the reasonable inference that
violation of Cal. Bus. & Prof. Code § 17200, et seq. (the     the defendant is liable for the misconduct alleged." Id.;
"UCL"). The Plaintiffs and Class seek an order certifying     see also Twombly, 550 U.S. at 556. A plaintiff need not
the Class, civil penalties pursuant to California Health &    plead "detailed factual allegations" to survive a motion
Safety Code § 25249.7(b), damages, restitution, and           to dismiss, but the allegations must be "enough to raise
injunctive relief.                                            a right to relief above the speculative level." Twombly,
                                                              550 U.S. at 555. In deciding a motion to dismiss, the
Pepsi moves to dismiss on the grounds that (1) Plaintiffs
                                                              Court "accept[s] the plaintiffs' allegations as true and
failed to comply with Proposition 65's mandatory notice
                                                              construe[s] them in the light most favorable to the
provisions before filing suit, (2) the federal Food, Drug,
                                                              plaintiffs." See Siracusano v. Matrixx Initiatives, Inc.,
and Cosmetic Act ("FDCA") and the Food and Drug
                                                              585 F. 3d 1167, 1177 (9th Cir. 2009).
Administration's ("FDA") regulations preempt Plaintiffs'
state law claims, and (3) the Court should not adjudicate     B. Proposition 65 Notice Requirements

this action because (a) the FDA has primary jurisdiction
                                                              California voters approved an initiative measure in
over the subject matter of this lawsuit and (b) there is a
                                                              November of 1986, enacting the Safe Drinking Water
pending Proposition 65 action in state court.
                                                              and Toxic Enforcement Act of 1986, which is now set
                                                              forth in Health and Safety Code section 25249.5 et seq.
[*787] II. DISCUSSION                                         and is commonly known [**10] as Proposition 65. Cal.
                                                              Chamber of Commerce v. Brown, 196 Cal. App. 4th
A. Legal Standard
                                                              233, 238, 126 Cal. Rptr. 3d 214 (2011). Under
Federal Rule of Civil Procedure 8(a) requires a plaintiff     Proposition 65, "[n]o person in the course of doing
to plead a claim with enough specificity to "give the         business shall knowingly and intentionally expose any
defendant fair notice of what the . . . claim is and the      individual to a chemical known to the state to cause
grounds upon which it [**9] rests." Bell Atl. Corp. v.        cancer or reproductive toxicity without first giving clear
Twombly, 550 U.S. 544, 545, 127 S. Ct. 1955, 167 L.           and reasonable warning to such individual" where the
Ed. 2d 929 (2007) (quotation omitted). A Rule 12(b)(6)        amount of exposure exceeds the "no significant risk
motion tests the sufficiency of the pleading. Navarro v.      level" established by the California Environmental
Block, 250 F. 3d 729, 732 (9th Cir. 2001). Dismissal          Protection Agency's Office of Environmental Health
under Rule 12(b)(6) is "proper only where there is no         Hazard Assessment ("OEHHA"). Cal. Health & Saf.
cognizable legal theory or an absence of sufficient facts     Code § 25249.6; 25249.10(c); CAC ¶¶ 24-26. The
alleged to support a cognizable legal theory." Id.            OEHHA listed 4-MeI as a chemical known to the state to
                                                              cause cancer on January 7, 2011. CAC ¶ 24. The
To survive a motion to dismiss under Rule 12(b)(6), a         OEHHA determined that the "no significant risk level" for


                                                     Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 6 of 33
                                                                                                             Page 5 of 32
                                108 F. Supp. 3d 780, *787; 2015 U.S. Dist. LEXIS 73336, **10


4-MeI is 29 micrograms per day. Id. ¶ 29; see also Cal.          of success of the claims, which allows the Attorney
Code Regs. tit. 27, § 25705(b)(1).                               General "to focus its efforts to discourage filing of the
                                                                 truly frivolous" and "to resolve the matter before a suit is
Proposition 65's warning requirement can be enforced
                                                                 filed, defense lawyers are hired and a litigation posture
by a public or private enforcement action and carries the
                                                                 is developed." DiPirro, 119 Cal. App. 4th at 974-75. The
possibility of both injunctive relief and civil penalties.
                                                                 amendment requiring a certificate of merit was [**12]
Cal. Chamber of Commerce, 196 Cal. App. 4th at 239
                                                                 "prompted by a concern that private enforcers were
(citing Cal. Health & Saf. Code § 25249.7, subds. (a),
                                                                 abusing Proposition 65 by filing meritless lawsuits
(b)). Private enforcement of Proposition 65's warning
                                                                 alleging that businesses had failed to provide adequate
requirement is permitted only if a plaintiff has provided
                                                                 warnings about chemical discharges." Id. at 970.
notice to the Attorney General (and the district attorney,
city attorney, or prosecutor in whose jurisdiction the           Proposition 65's pre-suit notice must be sent at least 60
violation is alleged to have occurred) and to the alleged        days before a private person acting in the public interest
violator. Cal. Health & Safety Code § 25249.7(d)(1). In          "commences" an action "pursuant to this section." Cal.
other [**11] words, "[s]tatutory notice is a mandatory           Health & Safety Code § 25249.7(d)(1). In warning
condition precedent to establishing a citizen's right to         cases, pursuant to the "unambiguous" language of
commence a Proposition 65 enforcement action in the              Proposition 65, "notice and certificate of merit must be
public interest." [*788] Ctr. for Self-Improvement &             provided before the action is commenced." DiPirro, 119
Cmty. Dev. v. Lennar Corp., 173 Cal. App. 4th 1543,              Cal. App. 4th at 973 (emphasis in original).
1551, 94 Cal. Rptr. 3d 74 (2009).
                                                                 1. Purpose of Notice

In a Proposition 65 warning case, pursuant to an                 The provision for citizen enforcement was included to
amendment that took effect in 2002, statutory notice             enhance enforcement of Proposition 65 and deter
must include a certificate of merit that states that the         violations. Yeroushalmi v. Miramar Sheraton, 88 Cal.
"person executing the certificate has consulted with one         App. 4th 738, 748, 106 Cal. Rptr. 2d 332 (2001) (citing
or   more     persons    with    relevant    and   appropriate   Historical and Statutory Notes, 40C West's Ann. Health
experience or expertise who has reviewed facts,                  & Saf. Code (1999 ed.) foll. § 25249.5, p. 279). Citizen
studies, or other data regarding the exposure to the             enforcement, however, "was conditioned upon the
listed chemical that is the subject of the action, and that,     failure of state and local government agencies to
based on that information, the person executing the              commence or diligently prosecute an action, after due
certificate   believes   there      is   a   reasonable   and    notice." Id.
meritorious case for the private action." DiPirro v. Am.
Isuzu Motors, Inc., 119 Cal. App. 4th 966, 970, 14 Cal.          California cases make clear that the notice requirements
Rptr. 3d 787 (2004); Cal. Health & Safety Code §                 in Proposition 65 encourage public enforcement and
25249.7(d)(1).                                                   reduce private lawsuits by requiring a non-adversarial
                                                                 opportunity for public agencies to pursue investigation,
The requirement for a certificate of merit "operates as a        settlement, and cure. [**13] The purpose of notice to
brake on improvident citizen enforcement." Ctr. for Self-        the state and local government agencies was to enable
Improvement, 173 Cal. App. 4th at 1551. The certificate          the public prosecutors "to investigate and, if necessary,
of merit informs the Attorney General as to the likelihood

                                                      Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 7 of 33
                                                                                                           Page 6 of 32
                            108 F. Supp. 3d 780, *788; 2015 U.S. Dist. LEXIS 73336, **13


to institute a lawsuit against the [violator]." Yeroushalmi,   Cases, the respective plaintiffs sent a 60-day notice
88 Cal. App. 4th at 748. California courts have                before the effective date of the legislative amendment
compared the Proposition 65 notice provisions to the           requiring a certificate of merit, but filed their initial
notice provisions in environmental statutes, such as the       Proposition 65 enforcement actions after the effective
Resource Conservation and Recovery Act, the Clean              date (and without providing the certificate of merit in
Water Act, and the Clean Air Act, which serve "to              advance). Both DiPirro and In re Vaccine Cases
encourage public enforcement, thereby avoiding the             concluded that the complaints must be dismissed with
need for a private lawsuit altogether, and to encourage        prejudice, because allowing retroactive cure after the
resolution of disputes outside the courts." Id. at 750. The    lawsuit was filed "would reduce the effectiveness of
Proposition 65 notice requirements "reflect the same           prelitigation   efforts   by   the   Attorney   General    to
intent to further settlement and public enforcement by         discourage filing the frivolous suit in the first place."
requiring adequate information from which to allow the         DiPirro, 119 Cal. App. 4th at 975; In re Vaccine Cases,
recipient [*789] to assess the nature of the alleged           134 Cal. App. 4th at 457; cf. Hallstrom v. Tillamook
violation." Id.; see also Consumer Advocacy Grp., Inc. v.      Cnty., 493 U.S. 20, 26, 110 S. Ct. 304, 107 L. Ed. 2d
Kintetsu Enterprises of Am., 150 Cal. App. 4th 953, 963-       237 (1989) (holding 60-day notice provision in Resource
64, 58 Cal. Rptr. 3d 778 (2007) ("[Notice] provides the        Conservation and Recovery Act was strict condition
public prosecutor the means to assess whether to               precedent to bringing suit and could not be given a
intervene on behalf of the public" and "further affords        pragmatic construction; [**15] e.g., notice requirement
the accused an opportunity to forestall litigation by          was not satisfied through post-filing 60-day stay of the
settling with the plaintiff or by curing any violation.");     action).
Consumer Def. Grp. v. Rental Hous. Indus. Members,
                                                               Similarly, in Physicians Comm. for Responsible Med. v.
137 Cal. App. 4th 1185, 1208, 40 Cal. Rptr. 3d 832
                                                               Applebee's Int'l, Inc., 224 Cal. App. 4th 166, 168 Cal.
(2006) (commenting that the "purpose of these
                                                               Rptr. 3d 334 (2014), a California court affirmed
[Proposition 65] notices is to enable 'meaningful
                                                               sustaining a demurrer without leave to amend where the
investigation' by those public authorities 'prior to [**14]
                                                               certificate of notice in a Proposition 65 case was
citizen intervention'"); In re Vaccine Cases, 134 Cal.
                                                               defective. Id. at 180. Applebee's concluded that denying
App. 4th at 458-59 (quoting Yeroushalmi, 88 Cal. App.
                                                               leave to amend was not an abuse of discretion, because
4th at 750).
                                                               a plaintiff "cannot cure its defective certificate and notice
With these legislative purposes in mind, California cases      by later conducting discovery to fill in the gaps in what it
strictly enforce the notice requirements and hold that         knew" when the notice was served. Id. at 181, 183.
pre-filing notice is mandatory. For example, two cases,
                                                               2. Commencing An Action
DiPirro v. Am. Isuzu Motors, Inc., 119 Cal. App. 4th 966,
14 Cal. Rptr. 3d 787 (2004), and In re Vaccine Cases,          Applying DiPirro, In re Vaccines, and Applebee's, if a
134 Cal. App. 4th 438, 36 Cal. Rptr. 3d 80 (2005), have        Plaintiff commenced an action under Proposition 65
declined to permit post-litigation cure of a defective         without providing suitable statutory notice, the Plaintiff
notice. These cases involved the amendment to                  should not be able to maintain that action. Dismissal
Proposition 65 that required a certificate of merit to be      with prejudice would be proper, because improper
filed as part of the notice. In DiPirro and In re Vaccine      notice cannot be retroactively cured.


                                                   Jonathan Neuman
              Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 8 of 33
                                                                                                              Page 7 of 32
                            108 F. Supp. 3d 780, *789; 2015 U.S. Dist. LEXIS 73336, **15


California courts have held that plaintiffs cannot plead       difference between "(1) not making an activity unlawful,
around the notice requirement by characterizing their          and (2) making that activity lawful" and observing that
claim as a UCL claim. Cases have dismissed UCL                 acts in the first category may still be challenged under
claims predicated on Proposition 65 claims that failed         the UCL if they are otherwise unfair).
for defective notice. In re Vaccine Cases dismissed not
                                                               The purposefulness of the legislature in making notice
only the direct Proposition 65 claim for failure to serve
                                                               an absolute pre-condition to suit is evident here as
notice, but also a derivative UCL claim alleging [**16]
                                                               noted below. As applied to Proposition 65, California
unlawful business practices.      [*790]   In re Vaccine
                                                               Health & Safety Code Section 25249.7(d)(1) therefore
Cases, 134 Cal. App. 4th at 447. While the scope of the
                                                               "prohibits plaintiffs from recasting their Proposition 65
UCL, which encompasses (in the disjunctive) unlawful,
                                                               action as an unfair competition action." In re Vaccine
unfair, or deceptive practices, is "sweeping, [the UCL's
                                                               Cases, 134 Cal. App. 4th at 458. In other words, a
scope] is not unlimited." Cel-Tech Commc'ns, Inc. v. Los
                                                               plaintiff cannot use the UCL to "plead around" a
Angeles Cellular Tel. Co., 20 Cal. 4th 163, 180, 182, 83
                                                               defective notice that creates an absolute bar to relief
Cal. Rptr. 2d 548, 973 P.2d 527 (1999). Specifically, the
                                                               under Proposition 65. Id. (citing Cel-Tech, 20 Cal. 4th at
UCL may be purposefully limited by other legislation: "If
                                                               184). After In re Vaccine Cases, "[i]t is now settled that
the Legislature has permitted certain conduct or
                                                               unfair competition law claims (see Bus. & Prof.Code, §
considered a situation and concluded no action should
                                                               17200) which are predicated on Proposition 65 warning
lie," then a plaintiff may not "'plead around' absolute
                                                               violations   must   be   dismissed       if   the   underlying
barriers to relief by relabeling the nature of the action as
                                                               Proposition 65 claim is dismissed." Consumer Def. Grp.,
one brought under the unfair competition statute." Id.
                                                               137 Cal. App. 4th at 1220.
(citing Rubin v. Green, 4 Cal. 4th 1187, 1201, 17 Cal.
Rptr. 2d 828, 847 P.2d 1044 (1993)). The legislative           Pepsi contends that although the initial complaints did
purpose to disallow or limit a substantiated claim must        not contain a direct Proposition 65 cause of action, the
be evident. Id. at 183 ("To forestall an action under the      initial complaints effectively "recast" the Proposition 65
unfair competition law, another provision must actually        claim as CLRA, false advertising, [**18]             negligent
'bar' the action or clearly permit the conduct."). Thus, for   misrepresentation, and UCL claims. Pepsi characterizes
instance, the mere fact that the legislature did not           Plaintiffs' initial complaint as an exercise in artful
provide a civil cause of action to enforce a law does not      pleading designed to circumvent the strictures of
necessarily preclude a UCL suit by a party with statutory      Proposition 65.
standing based on an alleged violation thereof. Stop
Youth Addiction, Inc. v. Lucky Stores, Inc., 17 Cal. 4th       Plaintiffs respond that the actions were not commenced

553, 576, 71 Cal. Rptr. 2d 731, 950 P.2d 1086 (1998)           as Proposition 65 actions, because none of the initial

("We previously have held [. . .] that 'whether a private      complaints brought a claim directly under Proposition

right of action should be implied under the predicate          65. Instead, Plaintiffs contend that they have alleged

statute is immaterial since any unlawful business              (and continue to allege) material misrepresentations and

practice may be redressed [**17] by a private action           omissions that provide grounds for claims under the

charging unfair competition in violation of Business and       CLRA and UCL independent of Proposition 65. Plaintiffs

Professions    Code    sections    17200    and    17203.'"    argue that they amended their complaints to add a

(collecting cases)); Cel-Tech, 20 Cal. 4th at 183 (noting      direct Proposition 65 cause of action only after the 60-


                                                   Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 9 of 33
                                                                                                                   Page 8 of 32
                              108 F. Supp. 3d 780, *790; 2015 U.S. Dist. LEXIS 73336, **18


day [*791] notice period had elapsed. Thus, Plaintiffs              Plaintiff [*792] Hall's March 7, 2014 complaint alleged a
contend that they did not commence an action under
                                                                    Colleges, 655 F.3d 984, 999 (9th Cir. 2011); CAC ¶ 67. The
Proposition 65 until after providing compliant notice.
                                                                    citizen petitions submitted to the FDA by Consumer Reports
The relevant plaintiffs are Plaintiffs Hall and Ibusuki,            and the Center for Science in the Public Interest also are

who are the named plaintiffs for the Proposition 65 claim           noticeable as "documents publicly filed with [an] administrative

in the CAC. See Hal Roach Studios v. Richard Feiner &               agency." Tovar v. Midland Credit Mgmt., No. 10CV2600 MMA
                                                                    MDD, 2011 U.S. Dist. LEXIS 40103, 2011 WL 1431988, at *2
Co., 896 F.2d 1542, 1546 (9th Cir.1990) ("The fact that
                                                                    (S.D. Cal. Apr. 13, 2011) (noticing, among other things,
a party was named in the original complaint is irrelevant;
                                                                    comments submitted to the FCC as part of rulemaking
an amended pleading supersedes the original."). Neither
                                                                    process). The existence of the [**21]       citizen petitions is
Hall nor Ibusuki alleged an action directly under                   noticeable to the extent that such petitions indicate that the
Proposition 65 in their initial complaints. In this case,           FDA is actively deciding issues regarding labeling. Cf. Greene
Ibusuki's [**19] March 7, 2014 initial complaint alleged a          v. T-Mobile USA, Inc., No. C07-1563RSM, 2008 U.S. Dist.
violation of the false advertising laws, violation of the           LEXIS 12605, 2008 WL 351017, at *2 (W.D. Wash. Feb. 7,
UCL, and violation of the CLRA. Ibusuki ECF C-14-                   2008). The existence of the complaint in the parallel state case

1193, Docket No. 1 ("Ibusuki Complaint"). Plaintiff                 is also a matter of public record subject to judicial notice. See
                                                                    Lee v. City of Los Angeles, 250 F.3d 668, 689-90 (9th Cir.
Ibusuki sent a Proposition 65 notice on April 3, 2014,
                                                                    2001). The Court also GRANTS Pepsi's request for judicial
see Docket No. 83-8, one month after filing his
                                                                    notice of the FDA guidance and explanatory materials with
complaint on March 7, 2014. Ibusuki Complaint.2                     respect to the existence of these statements. A court may take
                                                                    judicial notice of "records and reports of administrative
                                                                    bodies." Interstate Nat. Gas Co. v. S. California Gas Co., 209
2 Pepsi   requests judicial notice over five categories of
                                                                    F.2d 380, 385 (9th Cir. 1953). Such materials include
documents: (1) FDA guidance and explanatory materials
                                                                    guidance documents published by the FDA. See, e.g.,
(Docket Nos. 83-2, 83-3, 83-4); (2) Pepsi product labels
                                                                    Anderson v. Jamba Juice Co., 888 F. Supp. 2d 1000, 1003
(Docket Nos. 83-5, 83-6, 83-7); (3) Proposition 65 notices
                                                                    (N.D. Cal. 2012) (taking judicial notice of FDA guidance
(Docket Nos. 83-8 (Ibusuki Letter); 83-9 (Hall Letter)) (4)
                                                                    document from FDA website); Hansen Beverage Co. v.
citizen petitions submitted to the FDA (Docket Nos. 83-10
                                                                    Innovation Ventures, LLC, No. 08-CV-1166-IEG POR, 2009
(Consumer Reports); 83-11 (Center [**20] for Science in The
                                                                    U.S. Dist. LEXIS 127605, 2009 WL 6597891, at *2 (S.D. Cal.
Public Interest)); and (5) records of judicial proceedings
                                                                    Dec. 23, 2009); In re Amgen Inc. Sec. Litig., 544 F. Supp. 2d
(Docket No. 83-12). Plaintiffs have filed a limited opposition to
                                                                    1009, 1023-24 (C.D. Cal. 2008); cf. County of Santa Clara v.
Pepsi's requests for judicial notice as to the FDA guidance and
                                                                    Astra USA, Inc., 401 F. Supp. 2d 1022, 1024 (N.D. Cal. 2005)
explanatory materials. Plaintiffs "do not oppose PepsiCo's
                                                                    (taking judicial notice of information posted on a Department of
request for judicial notice of [the FDA guidance documents]
                                                                    Health and Human Services website); cf. Nw. Envtl.
generally." Docket No. 87 at 2. Instead, Plaintiffs oppose
                                                                    Advocates v. U.S. E.P.A., 537 F.3d 1006, 1026-27 (9th Cir.
noticing the truth of the contents of the FDA documents. Id.
                                                                    2008) (taking judicial notice of EPA's statements in its request
The Court GRANTS Pepsi's unopposed requests for judicial
                                                                    for comments). In this case, the FDA documents are judicially
notice of the documents in categories 2 - 5. The Pepsi product
                                                                    noticeable, because they are guidance documents issued by a
labels are referred to in the CAC and placed in issue by
                                                                    public administrative body and accessed from a government
Plaintiffs' claims. See CAC ¶¶ 1, 4, 42, 47, 48, 64. The
                                                                    website, a source whose accuracy cannot reasonably be
Proposition 65 notices are also proper to consider, because
                                                                    questioned. Fed. R. Evid. 201(b)(2). Nevertheless, [**22]
they are incorporated by reference in the CAC and no party
                                                                    when the documents to be noticed contain disputed facts, a
questions their authenticity. See United States v. Corinthian
                                                                    court should notice the documents for their existence, not for

                                                       Jonathan Neuman
              Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 10 of 33
                                                                                                                    Page 9 of 32
                              108 F. Supp. 3d 780, *792; 2015 U.S. Dist. LEXIS 73336, **22


violation of the CLRA, alleged a claim of negligent                 The question is whether the claims asserted in the initial
misrepresentation, and alleged a violation of the UCL.              complaint prior to the CAC, are entirely derivative of an
Hall ECF C-14-1099, Docket No. 1 ("Hall Complaint").                unspoken Proposition 65 violation, or whether they
Plaintiff Hall provided notice on March 3, 2014, four               assert claims independent of Proposition 65. If it is the
days before filing her March 7, 2014 initial complaint.             former, the complaint may be treated as a "pleading
See Docket No. 83-9. Plaintiff Ree does not allege that             around" Proposition 65. In this regard, Ibusuki's
she provided notice; the direct Proposition 65 claim in             Complaint      is   problematic.     As    Plaintiffs'    counsel
the CAC is brought only by Hall and Ibusuki.                        acknowledged at the hearing, Ibusuki's initial complaint
                                                                    referred to no other alleged misstatements other than
There are facts suggestive of an initial "pleading
                                                                    the failure to warn under Proposition 65. Ibusuki
around"     Proposition    65.   Plaintiffs   have    generally
                                                                    Complaint ¶¶ 9-11, 25-27, 37, 41-42; see 2/19/15 Hrg.
characterized the case as "a Proposition 65 action"
                                                                    Tr. at 8. While the Plaintiffs argue that Ibusuki's initial
when counsel sought to be appointed interim lead
                                                                    complaint      did [**24]   not    arise   "exclusively    under
counsel.3                                                           Proposition 65," the paragraphs that Plaintiffs cite from
                                                                    the Ibusuki complaint relate only to the omission of the
the truth of the disputed facts. Lee, 250 F.3d at 690 ("[W]hen a
                                                                    "health-warning label per California's Prop. 65" (Ibusuki
court takes judicial notice of another court's opinion, it may do
                                                                    Complaint ¶¶ 8-11) and allege but-for causation of loss,
so not for the truth of the facts recited therein, but for the
existence of the opinion, which is not subject to reasonable        because Ibusuki "would have never purchased Pepsi

dispute over its authenticity."); In re High-Tech Employee          One had he known it contained 4-MeI at a level that
Antitrust Litig., 856 F. Supp. 2d 1103, 1108 (N.D. Cal. 2012)       required a Proposition 65 warning." Ibusuki Complaint
("A court may also take judicial notice of the existence of         ¶¶ 40-45.
matters of public record, such as a prior order or decision, but
not the truth of the facts cited therein."); In re Ubiquiti         The Court therefore finds that the gravamen of Ibusuki's
Networks, Inc. Sec. Litig., 33 F. Supp. 3d 1107, 2014 WL            initial complaint was a Proposition 65 claim seeking to
1254149, at *4 (N.D. Cal. 2014); Ritz Camera & Image, LLC v.        vindicate a right created by Proposition 65; all his claims
SanDisk Corp., 772 F. Supp. 2d 1100, 1109 (N.D. Cal. 2011)          were derivative of Proposition 65. Thus, where the
aff'd, 700 F.3d 503 (Fed. Cir. 2012) ("While a court may take       California "Legislature did specifically conclude that 'no
judicial notice of the existence of SEC filings, it may not take
                                                                    action should lie' unless plaintiffs provided a 60—day
judicial notice of documents for the truth of disputed facts
                                                                    notice required by section 25249.7, subdivision (d)(1)"
asserted therein."). The Court notices the fact that the FDA
                                                                    the Court concludes that Ibusuki "cannot evade the
made the statements in the documents. See Von Saher v.
Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960
                                                                    requirement of pre-suit 60-day notice in Proposition 65

(9th Cir. 2010) (explaining that "[c]ourts may take judicial        by repleading [his] cause of action" as a violation of a
notice of publications introduced to indicate what was in the       consumer protection [*793]          statute. In re Vaccine
public realm at the time, not whether the contents of those         Cases, 134 Cal. App. 4th at 458-59 (plaintiff cannot
articles were in fact true"). The Court does not take notice of     evade notice requirements by repleading as an action
the FDA documents for the truth of facts subject to reasonable
dispute, such as the safety or riskiness [**23] of 4-MeI. Lee,
                                                                    "PSW and several other firms followed the necessary
250 F.3d at 689 (citing Fed. R. Evid. 201(b)).
                                                                    procedures for enforcement of Proposition 65, and their cases
3 When   counsel for Hall sought to be appointed interim lead       are now ripe for adjudication under Proposition 65." Docket
counsel, counsel argued that it should be appointed, because        No. 46 at 2.

                                                       Jonathan Neuman
                  Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 11 of 33
                                                                                                                  Page 10 of 32
                                 108 F. Supp. 3d 780, *793; 2015 U.S. Dist. LEXIS 73336, **24


for violation of the UCL); cf. Cortina v. Goya Foods, Inc.,          To be sure, the Ninth Circuit has characterized the rule
No. 14-CV-169-L NLS, 94 F. Supp. 3d 1174, 2015 U.S.                  against using the UCL [**27]          to plead around an
Dist. LEXIS 40159, 2015 WL 1411336, at *4 (S.D. Cal.                 absolute bar to relief as "rather narrow." Chabner v.
Mar. 19, 2015) (denying motion to dismiss based on                   United of Omaha Life Ins. Co., 225 F.3d 1042, 1048 (9th
failure to provide notice as to initial complaint [**25]             Cir. 2000); cf. Yanting Zhang, 57 Cal. 4th at 369
where "Plaintiffs' sole mention of Proposition 65 in the             (concluding that UCL claims were not barred by lack of
initial complaint lies in a quote in which a toxicologist            available private action under the Unfair Insurance
references the Proposition 65 safe harbor level in                   Practices Act, because "plaintiff alleges causes of action
comparison to [her] own recommended level of safe                    for false advertising and insurance bad faith, both of

exposure").4                                                         which provide grounds for a UCL claim independent
                                                                     from the UIPA" even where conduct violated the UIPA);
                                                                     Stop Youth Addiction, 17 Cal. 4th at 576 (concluding
4 Plaintiffs   have filed a statement of recent decision from the    that "the fact a UCL action is based upon, or may even
Southern District. Under Local Rule 7-3(d)(2): "Before the           promote the achievement of, policy ends underlying
noticed hearing date, counsel may bring to the Court's               section 308 or the STAKE Act, does not, of itself,
attention a relevant judicial opinion published after the date the   transform the action into one for the 'enforcement' of
opposition or reply was filed by filing and serving a Statement      section 308"). But in this case, Ibusuki's initial claims
of Recent Decision, containing a citation to and providing a
                                                                     were all totally dependent on establishing a Proposition
copy of the new opinion — without argument." Id. (emphasis
                                                                     65 violation.
added). Pepsi objects to consideration of the recent decision,
which was proffered after the hearing date. Docket No. 103.          By contrast, the Hall Complaint does not plead around
Pepsi seeks to strike the supplemental submission as
                                                                     Proposition 65. To be sure, the Hall Complaint referred
unauthorized, or, alternatively, requests to submit a six-page
                                                                     multiple times to Proposition 65. Hall alleged that
supplemental memorandum addressing differences between
                                                                     "[d]uring the Class Period, Pepsico knowingly and
this case and Goya. Id. The purpose of Local Rule 7-3(d)(2) is
                                                                     actively concealed the material [*794] fact that the
to "deter an endless cycle of filings and counter-filings while
preserving the Court's ability to render a decision that is fully-   Pepsi Beverages contain the toxic and cancer-causing
informed by any particularly germane legal authority that may        chemical known as [4-MeI] at levels above the safety
emerge." Michael Taylor Designs, Inc. v. Travelers Prop. Cas.        threshold set by the State of California in Proposition
Co. of Am., 761 F. Supp. 2d 904, 909 (N.D. Cal. 2011) aff'd,         65." Hall Complaint ¶ 1. Further, Hall's complaint
495 F. App'x 830 (9th Cir. 2012). The rules permit a [**26]          continued to [**28] refer to Proposition 65 repeatedly in
party to submit a motion for administrative relief to seek leave
to submit new authority after a hearing, although "it is a right
that should be exercised sparingly." Id. In determining whether      properly filed and will consider this recent decision, which the
to permit leave to submit additional authority, the Court weighs     Court finds to be "particularly germane legal authority."
the relevance of the authority and considers factors such as         Michael Taylor Designs, 761 F. Supp. 2d at 909; see, e.g., In
whether the decision is controlling, persuasive on an important      re Optical Disk Drive Antitrust Litig., No. 3:10-MD-2143 RS,
issue, or cumulative of cases already submitted. Id. In this         2012 U.S. Dist. LEXIS 55300, 2012 WL 1366718, at *3 n.5
case, Goya is not controlling precedent, but it involves highly      (N.D. Cal. Apr. 19, 2012) (construing one improperly filed
similar factual allegations and addresses unsettled areas of         statement of recent decision as properly filed). The Court also
law that are in issue in the case at bar. The Court therefore        exercises its discretion to review and consider Pepsi's
exercises its discretion to construe Plaintiffs' motion as           supplemental memorandum.

                                                        Jonathan Neuman
              Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 12 of 33
                                                                                                                Page 11 of 32
                              108 F. Supp. 3d 780, *794; 2015 U.S. Dist. LEXIS 73336, **28


support of her claims. Id. ¶¶ 2, 5, 18, 19, 20, 21, 22, 28,        wholly derivative of a Proposition 65 warning violation.
29, 62. Specifically, Hall referred to Proposition 65 as           Hall did not "commence" an action "pursuant to"
part of her allegations for the predicate wrong in support         Proposition 65 in her initial complaint. Cal. Health &
of her state law claims (id. ¶¶ 43a, 62, 70).                      Safety Code § 25249.7(d)(1). Hall therefore only
                                                                   commenced a Proposition 65 action when the CAC was
However, Hall expressly disclaimed any Proposition 65
                                                                   amended to add a direct claim under Proposition 65;
violation in her initial complaint. See Hall Complaint ¶ 3
                                                                   that claim was properly preceded by the requisite notice.
("This Complaint does not allege a violation of
                                                                   See Goya, 2015 U.S. Dist. LEXIS 40159, 2015 WL
Proposition 65."). Hall explained that "Proposition 65 is
                                                                   1411336, at *5. The Ibusuki Complaint, on the other
relevant to the extent it provides guidance as to a
                                                                   hand, arises exclusively from his allegations that Pepsi
reasonable      consumer's     purchasing       decisions     in
                                                                   did not issue the warning required by Proposition [**30]
California." Id. ¶¶ 3, 29. More importantly, Hall's initial
                                                                   65. Consequently, the Ibusuki Complaint did not comply
complaint proceeded under two independent theories.
                                                                   with Proposition 65's notice requirements and his later
First, Hall's initial complaint is based not literally upon a
                                                                   notice cannot retroactively cure this defect. See DiPirro,
violation of Proposition 65, but on Pepsi's public
                                                                   119 Cal. App. 4th at 975; In re Vaccine Cases, 134 Cal.
statements which allegedly misrepresented its actions.
                                                                   App. 4th at 457.
Hall Complaint ¶¶ 21-25. In particular, Hall alleged that
Pepsi "feigned action" in response to the changing                 For     the   foregoing   reasons,   the     Court      DENIES
regulatory    environment      in     California,   misleading     Defendant's     motion    to   dismiss    Hall's   claims    on
consumers into believing that the amounts of 4-MeI in              Proposition 65 notice grounds. The Court GRANTS
the Pepsi Beverages were lower than they were. Id. The             Defendant's motion to dismiss Ibusuki's Proposition 65
Hall Complaint alleged that Pepsi misrepresented it had            claim, however, as discussed at the hearing, this
"moved       immediately     to [**29]      meet    the      new   dismissal has little practical effect. In this case "notice
requirements" on 4-MeI and had "roll[ed] out . . .                 by [Hall] fulfills the true purpose of the notice
changes" that had been completed in California as well             requirement." See Goya, 2015 U.S. Dist. LEXIS 40159,
as several other states. Hall Complaint ¶ 22. While the            2015 WL 1411336, at *5 n.2. Hall may proceed as
alleged misstatement is related to Proposition 65, the             named plaintiff for the Proposition 65 claim in the CAC.
alleged wrong is not a failure to warn under Proposition
                                                                   3. Merits Argument on Safe Harbor & Exposure Limits
65,   but    rather   a    separate      misrepresentation    to
consumers regarding what actions Pepsi had taken and               Pepsi repeatedly raises a factual argument throughout
what levels of 4-MeI were present in the Pepsi                     its motion. Pepsi argues        [*795]     that the Plaintiffs
Beverages.                                                         misconstrue both Proposition 65 and the Consumer
                                                                   Reports article. Pepsi contends that Plaintiffs' entire
Second, Hall's initial complaint and the CAC both
                                                                   lawsuit rests on their mistaken belief that exceeding 29
appear to allege that Pepsi should have disclosed the
                                                                   micrograms in a single twelve-ounce serving constitutes
presence of 4-MeI in the Pepsi Beverages irrespective
                                                                   a violation of Proposition 65. Pepsi argues that Plaintiffs'
of Proposition 65, including, e.g., in its advertising and
                                                                   methodology does not align with that of Proposition 65,
public statements.
                                                                   which     calculates   consumption       based     on   lifetime
The Court concludes that the Hall Complaint was not                exposure patterns using the average rate of intake


                                                      Jonathan Neuman
             Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 13 of 33
                                                                                                       Page 12 of 32
                           108 F. Supp. 3d 780, *795; 2015 U.S. Dist. LEXIS 73336, **30


or [**31] exposure for average users of the consumer         providing for preemption. Crosby, 530 U.S. at 372 .
product. See, e.g., Motion at 7-8 (citing Cal. Health &      Preemption need not, however, be express; it also
Safety Code § 25249.10(c); 27 Cal. Code Regs. §              occurs "[w]hen Congress intends federal law to occupy
25721(d)(4)).                                                the field." Id. Additionally, federal statutes will preempt
                                                             state law that conflicts with federal law. Id. Conflict
Viewing the pleadings in the light most favorable to
                                                             preemption can arise where it is impossible for a party
Plaintiffs, the CAC adequately pleads that the Pepsi
                                                             to comply with both state and federal law (see, e.g.,
Beverages at issue did not fall within the safe harbor
                                                             Florida Lime & Avocado Growers, Inc. v. Paul, 373 U.S.
established by Proposition 65. In particular, the CAC
                                                             132, 142-43, 83 S. Ct. 1210, 10 L. Ed. 2d 248 (1963)) or
alleges that studies show that consumers who drink
                                                             where "the challenged state law stands as an obstacle
soda consume, on average, more than one twelve-
                                                             to the accomplishment and execution of the full
ounce serving per day. Assuming the facts alleged in
                                                             purposes and objectives of Congress." Crosby, 530 U.S.
the CAC to be true, it is a plausible inference that,
                                                             at 373 (citing Hines v. Davidowitz, 312 U.S. 52, 66-67,
where each serving of the Pepsi Beverages contained
                                                             61 S. Ct. 399, 85 L. Ed. 581 (1941)).
more than 29 micrograms of 4-MeI, the average daily
exposure to a consumer who drinks more than one              Two presumptions regarding preemption guide the
serving per day exceeds 29 micrograms. To the extent         courts. Medtronic, Inc. v. Lohr, 518 U.S. 470, 485, 116
that Pepsi wishes to challenge Plaintiffs' exposure          S. Ct. 2240, 135 L. Ed. 2d 700 (1996). First, courts "start
calculation methodology, it can do so at summary             with the assumption that the historic police powers of
judgment or at trial. For purposes of surviving a Rule       the States were not to be superseded by the Federal
12(b)(6) motion to dismiss, Plaintiffs have adequately       Act unless that was the clear and manifest purpose of
pled that the Pepsi Beverages did not fall within the safe   Congress," because "the States are independent
harbor.                                                      sovereigns in our federal system," i.e., there is a starting

C. Preemption                                                presumption "that Congress does not cavalierly [**33]
                                                             pre-empt state-law causes of action." Id. See Wyeth v.
Pepsi argues that federal labeling laws are the supreme      Levine, 555 U.S. 555, 565, 129 S. Ct. 1187, 173 L. Ed.
law of the land, and that Congress (through the FDCA)        2d 51 (2009); New [*796] York State Conference of
and the FDA (through its regulations) have established       Blue Cross & Blue Shield Plans v. Travelers Ins. Co.,
a comprehensive federal system for food and [**32]           514 U.S. 645, 654-55, 115 S. Ct. 1671, 131 L. Ed. 2d
beverage    labeling.   The   FDCA     and   the    FDA's    695 (1995); Astiana v. Hain Celestial Grp., Inc., 783
regulations, in Pepsi's view, therefore preempt any          F.3d 753, 2015 WL 1600205, at *2 (9th Cir. 2015).
claims arising under consumer state laws for warning         Second, the "ultimate touchstone" in every preemption
labels or other disclosure of 4-MeI.                         case is Congressional purpose and intent. Medtronic,
                                                             518 U.S. at 485. "Congressional intent to preempt state
Under the Supremacy Clause, "Congress has the power
                                                             law must be clear and manifest." Indus. Truck Ass'n,
to preempt state law." Crosby v. Nat'l Foreign Trade
                                                             Inc. v. Henry, 125 F.3d 1305, 1309 (9th Cir. 1997). See
Council, 530 U.S. 363, 372, 120 S. Ct. 2288, 147 L. Ed.
                                                             United States v. Locke, 529 U.S. 89, 108, 120 S. Ct.
2d 352 (2000); see also Oneok, Inc. v. Learjet, Inc., 135
                                                             1135, 146 L. Ed. 2d 69 (2000); Astiana, 783 F.3d 753,
S. Ct. 1591, 191 L. Ed. 2d 511, 2015 WL 1780926, at *4
                                                             2015 WL 1600205, at *2.
(2015). Congress may exercise this power by expressly

                                                   Jonathan Neuman
             Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 14 of 33
                                                                                                           Page 13 of 32
                           108 F. Supp. 3d 780, *796; 2015 U.S. Dist. LEXIS 73336, **33


Proposition 65 is a consumer protection law that is         state standards that existed at the time." In re Farm
within the states' historic police powers and subject to    Raised Salmon Cases, 42 Cal. 4th at 1091 n.12.
the presumption against preemption. In re Farm Raised
                                                            To create the desired national uniformity, the NLEA
Salmon Cases, 42 Cal. 4th 1077, 1088, 72 Cal. Rptr. 3d
                                                            amended the FDCA to include a provision preempting
112, 175 P.3d 1170 (2008) (citation omitted); see also
                                                            state laws on misbranding. The NLEA added the
Chem. Specialties Mfrs. Ass'n, Inc. v. Allenby, 958 F.2d
                                                            preemption provision as section 403A of the Federal
941, 943 (9th Cir. 1992). The states' historic police
                                                            Food, Drug, and Cosmetic Act, which was codified at 21
powers included "[l]aws regulating the proper marketing
                                                            U.S.C. § 343-1(a). See POM Wonderful, 134 S. Ct. at
of food, including the prevention of deceptive sales
                                                            2235. This provision provides that no state may directly
practices." Id.; Florida Lime & Avocado Growers, Inc. v.
                                                            or indirectly establish a requirement for the labeling of
Paul, 373 U.S. 132, 144, 83 S. Ct. 1210, 10 L. Ed. 2d
                                                            food that is not "identical to" the requirements of section
248 (1963) ("[T]he States have always possessed a
                                                            403 of the FDCA (21 U.S.C. § 343), which governs
legitimate interest in the protection of their people
                                                            misbranded food. 21 U.S.C. § 343-1(a). The FDA, in its
against fraud and deception in the sale of food products
                                                            implementing regulations, has commented that the term
at retail markets within their borders." (quotation
                                                            "not identical to" captures a state requirement that
omitted)).
                                                            "directly or indirectly imposes obligations or contains
1. Express Preemption
                                                            provisions . . . that . . . [d]iffer from those specifically

The purpose of the FDCA is to "protect the health and       imposed by or contained in the applicable provision

safety of the public at large." POM Wonderful LLC v.        (including any implementing regulation) of section 401

Coca-Cola Co., 134 S. Ct. 2228, 2234, 189 L. Ed. 2d         or 403 of the act." 21 C.F.R. § 100.1(c)(4).

141 (2014). To that end, the "FDCA prohibits the
                                                            The uniform [**35] system for nutrition labeling inured to
misbranding of food and drink." Id.
                                                            the     benefit   of    both    manufacturers     [*797]    and

In 1990, Congress amended the FDCA by enacting the          consumers — manufacturers do not have to "print 50

Nutrition Labeling and Education Act ("NLEA") to "clarify   different labels" and consumers who buy food in more

and strengthen [the FDA's] authority to require nutrition   than one state do not have to discern different labels.

labeling on foods . . . ." Nat'l Council for Improved       Turek, 662 F.3d at 426; Nemphos v. Nestle Waters N.

Health v. Shalala, 122 F.3d 878, 880 (10th Cir. 1997)       Am., Inc., 775 F.3d 616, 620 (4th Cir. 2015) (observing

(quoting H.R. Rep. No. 101-538, at 7 (1990), reprinted      "manufacturers         can     produce   and    market     foods

in 1990 [**34] U.S.C.C.A.N. 3336, 3337); see also Reid      consistently and cost-effectively" while "consumers can

v. Johnson & Johnson, 780 F.3d 952, 959 (9th Cir.           make well-informed decisions about the types and

2015) ("The [NLEA] amended the [FDCA] to 'establish[ ]      quantities of ingredients in their diets"). Inconsistent

uniform food labeling requirements, including the           state     "requirements"       include   not    only   "positive

familiar and ubiquitous Nutrition Facts Panel found on      enactments like statutes and regulations" but also

most food packages.'" (quoting Lilly v. ConAgra Foods,      "common-law duties and judge-made rules." Chacanaca

Inc., 743 F.3d 662, 664 (9th Cir. 2014))). The purpose of   v. Quaker Oats Co., 752 F. Supp. 2d 1111, 1118 (N.D.

the NLEA was "primarily to establish a national uniform     Cal. 2010) (citing Bates v. Dow Agrosciences, LLC, 544

labeling standard in place of the patchwork of different    U.S. 431, 443, 125 S. Ct. 1788, 161 L. Ed. 2d 687


                                                 Jonathan Neuman
                Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 15 of 33
                                                                                                                   Page 14 of 32
                                108 F. Supp. 3d 780, *797; 2015 U.S. Dist. LEXIS 73336, **35


(2005)).                                                           The FDCA misbranding provisions subject to express
                                                                   preemption deem food misbranded if it is offered for
The NLEA makes clear, however, that the NLEA does
                                                                   sale under the name of another food (§ 343(b)), if it is
not occupy the field. Turek, 662 F.3d at 425. Section
                                                                   an imitation of another food and does not properly state
6(c)(1) of the NLEA, which was enacted, but not codified
                                                                   "imitation" (§ 343(c)); if the container is made, formed,
as part of the FDCA provides: "The Nutrition Labeling
                                                                   or filled in a misleading manner (§ 343(d)); if it is
and Education Act of 1990 shall not be construed to
                                                                   packaged and the package does not identify the source
preempt any provision of State law, unless such
                                                                   of the food or accurately identify its contents (§ 343(e));
provision is expressly preempted under section 403A
                                                                   if required information is not printed with sufficient
[21 U.S.C. § 343-1(a)] of the Federal Food, Drug, and
                                                                   prominence (§ 343(f)); if it does not comply with
Cosmetic Act." Pub. L. No. 101-535, § 6(c)(1), 104 Stat.
                                                                   definitions [**37] and standards, including the common
2353, 2364 (1990) (emphasis        added).5                        names of optional ingredients (other than spices,
                                                                   flavoring, and coloring) (§ 343(g)); if it does not make
                                                                   proper    representations    as    to    quality,     fill,   and
5 At   argument, Pepsi contended that an uncodified portion of     pasteurization (§ 343(h)); if it does not bear the common
the NLEA should not merit weight. While the appearance of a        or usual name of the food or component ingredients,
provision in the United States Code "is 'prima facie' evidence     except [*798] that spices, flavorings, or colorings may
that the provision has the force of [**36] law, 1 U.S.C. §
                                                                   be designated as spices, flavorings, or colorings without
204(a), it is the Statutes at Large that provides the 'legal
                                                                   naming each (§ 343(i)); if it does not label artificial
evidence of laws,' § 112." U.S. Nat. Bank of Oregon v. Indep.
                                                                   flavoring, artificial coloring, or chemical preservatives as
Ins. Agents of Am., Inc., 508 U.S. 439, 448, 113 S. Ct. 2173,
                                                                   such (§ 343(k)); if it does not provide certain nutrition
124 L. Ed. 2d 402 (1993). The NLEA's uncodified note on
construction appears in the United States Statutes at Large.       information,   such   as    serving     size,     servings    per
Pub. L. No. 101-535, § 6(c), 104 Stat. 2353, 2364 (1990).          container, calories, and identification of certain nutrients,
Although     not   codified,   Congress's   enacted   note   on    vitamins, and minerals (§ 343(q)); if it improperly
construction has the "force of law" and "works together" with      characterizes nutrition levels and health-related claims
the statute. Glenn v. Holder, 690 F.3d 417, 426 n.2 (6th Cir.      (§ 343(r)); and if it does not identify certain allergens (§
2012) (applying six uncodified rules of construction included in
                                                                   343(w; x)). See 21 U.S.C. §§ 343; 343-1(a).
a note to the Hate Crimes Act). The note on construction
therefore provides an "express definition of the pre-emptive       Where there is an express preemption clause applicable
reach" of the NLEA. Brod v. Sioux Honey Ass'n, Co-op., 927
                                                                   to a provision of the FDCA, the Court must determine
F. Supp. 2d 811, 824 (N.D. Cal. 2013) (quoting Freightliner
                                                                   whether the state law at issue falls within the scope of
Corp. v. Myrick, 514 U.S. 280, 288, 115 S. Ct. 1483, 131 L.
                                                                   that preemption. Altria Grp., Inc. v. Good, 555 U.S. 70,
Ed. 2d 385 (1995)). As such, many cases analyze some or all
                                                                   76, 129 S. Ct. 538, 172 L. Ed. 2d 398 (2008) ("If a
of the NLEA's note on construction in determining whether
preemption is proper. See, e.g., Brazil v. Dole Food Co., 935
F. Supp. 2d 947, 957 (N.D. Cal. 2013); Bruton v. Gerber            597 F. Supp. 2d at 1032; Turek, 662 F.3d at 425; Holk v.
Products Co., 961 F. Supp. 2d 1062, 1083 (N.D. Cal. 2013);         Snapple Beverage Corp., 575 F.3d 329, 336 (3d Cir. 2009)
Gustavson v. Wrigley Sales Co., 961 F. Supp. 2d 1100, 1119         (discussing Section 6(c)(1) and (c)(3)); New York State Rest.
(N.D. Cal. 2013); Ivie v. Kraft Foods Global, Inc., 961 F. Supp.   Ass'n v. New York City Bd. of Health, 556 F.3d 114, 123 (2d
2d 1033, 1038 (N.D. Cal. 2013); Chacanaca v. Quaker Oats           Cir. 2009); In re Farm Raised Salmon Cases, 42 Cal. 4th
Co., 752 F. Supp. 2d 1111, 1118 (N.D. Cal. 2010); Lockwood,        1077, 1091, 72 Cal. Rptr. 3d 112, 175 P.3d 1170 (2008).

                                                       Jonathan Neuman
                Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 16 of 33
                                                                                                                  Page 15 of 32
                              108 F. Supp. 3d 780, *798; 2015 U.S. Dist. LEXIS 73336, **37


federal law contains an express pre-emption clause, it              343-1(a); see Medtronic, 518 U.S. at 501 (holding that
does not immediately end the inquiry because the                    where       state   requirements     were    not    specifically
question of the substance and scope of Congress'                    developed "with respect to" a specific medical device,
displacement of state [**38]        law still remains."). In        they were not "the kinds of requirements that Congress
mapping the scope of a preemption clause, the Court                 and the FDA feared would impede the ability of federal
typically must "accept the reading that disfavors pre-              regulators to implement and enforce specific federal
emption," if such reading is plausible. Id. at 77.                  requirements"       under [**39]     the    Medical     Device
                                                                    Amendments); Bates, 544 U.S. at 444-45 [*799]
Here, the enumeration of the various sections of the
                                                                    (concluding that common law rules governing product
FDCA that expressly preempt state law is "significant,"
                                                                    design, due care in testing, marketing, and enforcing
because        "the    complex      pre-emption       provision
                                                                    express warranties are not preempted under FIFRA,
distinguishes among different FDCA requirements,"
                                                                    because they are not requirements for labeling or
covering some, but not all, of the FDCA's misbranding
                                                                    packaging).7 Cf. New York State Conference of Blue
subsections. POM Wonderful, 134 S. Ct. at 2238.
                                                                    Cross & Blue Shield Plans v. Travelers Ins. Co., 514
Relevant to the case at bar, the NLEA only preempts
                                                                    U.S. 645, 654-56, 115 S. Ct. 1671, 131 L. Ed. 2d 695
state-law requirements "that are of the type but not
                                                                    (1995) (construing "relate to" in ERISA preemption
identical to only certain FDCA provisions with respect to
                                                                    provision and concluding that "infinite relation" and
food and beverage labeling." Id.
                                                                    "infinite   connection"     cannot    be    the    measure    of
In other words, the NLEA's preemption provisions do not             preemption). If the label statements at issue do not
reflect an intent to preempt every state law requirement            involve the enumerated labeling requirements, "then the
with some conceivable relationship to the labeling of               NLEA's express preemption provision would not in the
food. Instead, express preemption applies only to                   ordinary circumstance come into play." Chacanaca, 752

requirements "of the type" enumerated.6 21 U.S.C. §                 F. Supp. 2d at 1119.



                                                                    Packaging and Labeling Act (15 U.S.C. 1451 et seq.)." 21
6 In   contrast to the NLEA, the express preemption provision       U.S.C. § 379r(a). Proposition 65 was specifically saved from
included in the Medical Device Amendments to the FDCA               the preemption provision of the Modernization Act; it is the
contains more expansive language. The Medical Device                only state enactment that falls within the savings clause.
Amendments provided that no state "may establish or continue        Dowhal v. SmithKline Beecham Consumer Healthcare, 32 Cal.
in effect with respect to a device . . . any requirement relating   4th 910, 919, 924, 12 Cal. Rptr. 3d 262, 88 P.3d 1 (2004); 21
to safety or effectiveness that is different from, or in addition   U.S.C. § 379r(d)(2) ("This section shall not apply to a State
to, federal requirements. Riegel v. Medtronic, Inc., 552 U.S.       requirement adopted by a State public initiative or referendum
312, 327-28, 128 S. Ct. 999, 169 L. Ed. 2d 892 (2008)               enacted prior to September 1, 1997."). See 21 U.S.C. §
(quoting 21 U.S.C. § 360k(a)(2)). Similarly, the express            379r(a)(1) (The preemption provision of the Modernization Act
preemption provision in the Federal Drug Administration             applies only to OTC drugs.).
Modernization Act, which amended the FDCA in 1997, broadly
references any state requirement that is "different from or in      7 FIFRA's   preemption provision provides: "Such State shall not
addition to, or that is otherwise not identical with, a             impose or continue in effect any requirements for labeling or
requirement under this chapter, the [**40] Poison Prevention        packaging in addition to or different from those required under
Packaging Act of 1970 (15 U.S.C. 1471 et seq.), or the Fair         this subchapter." Id. at 443.

                                                       Jonathan Neuman
                Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 17 of 33
                                                                                                                      Page 16 of 32
                                108 F. Supp. 3d 780, *799; 2015 U.S. Dist. LEXIS 73336, **39


a. Violation of Proposition 65 Warning Requirements                   makes clear that a color additive has been used in the

                                                                      food)." Id.10
Plaintiffs allege that Pepsi failed to include a health
warning even though exposure to 4-MeI from the                        In this case, a Proposition 65 warning is not a statement
coloring of Pepsi Beverages was at a level above                      explicitly covered by the [*800] misbranding provisions
Proposition 65's safe-harbor level. CAC ¶¶ 1, 4-6, 8, 40,             subject to express preemption. Proposition 65 does not
49, 63-65, 69, 76, 85. Pepsi argues that mandating a                  directly or indirectly establish a requirement that differs
Proposition 65 warning would impose a labeling                        from the FDCA's requirement that artificial coloring be
requirement that is not identical to requirements of the              labeled (21 U.S.C. § 343(k)). Nor does Proposition 65
FDCA and is thus subject to the NLEA's express                        disturb the permissive provision in the FDCA that allows
preemption provision. Motion at 16-18.                                multiple colors to be designated as "colorings" without
i. [**41] No Conflict with NLEA Labeling Requirements                 naming       each      (21   U.S.C. § 343(i)(2)). Similarly,
                                                                      Proposition 65 does not require caramel color to be
In asserting preemption, Pepsi refers generally to 21                 called a name different from the common or usual
U.S.C. §§       343-1(a)(2),8   (a)(3).9   Of the substantive         names [**43] approved by the FDA in its implementing
misbranding provisions covered by express preemption                  regulations, e.g.. "caramel color."11
under Section 343-1, the only potentially relevant
provisions are those which require that artificial coloring
be labeled (21 U.S.C. § 343(k)), which require a label                10 A   more detailed list of color additive ingredients is required
bearing the common or usual name of the food (21                      when caramel color [**42] is a "mixture." Id. § 70.25 (color
U.S.C. § 343(i)(1)), and which permit multiple spices,                additives must include "[t]he name of the straight color or the
flavorings, or colorings to be designated as spices,                  name of each ingredient comprising the color additive, if it is a

flavorings, or colorings without naming each (21 U.S.C.               mixture."). Under the FDA's implementing regulations, a
                                                                      "mixture" is defined as "a color additive made by mixing two or
§ 343(i)(2)). See 21 U.S.C. § 343-1(a)(2); (a)(3). Pepsi
                                                                      more straight colors, or one or more straight colors and one or
cites a number of the FDA's related implementing
                                                                      more diluents." Id. § 70.3(k). 4-MeI, which, as alleged in the
regulations regarding how caramel coloring should be
                                                                      CAC and recognized by the FDA is "a byproduct" of the
identified in labeling. See 21 C.F.R. §§ 70.25; 101.4;
                                                                      manufacturing process for Caramel Color III and IV, does not
101.22. Under FDA regulations, caramel color may be                   appear to be a mixed, separate ingredient requiring specific
labeled as "Colored with Caramel" or "Caramel color."                 listing under the FDA's regulations. CAC ¶¶ 19, 22; Docket No.
See id. § 101.22(k)(2). Alternatively, caramel color "may             83-2, Ex. A.
be declared as 'Artificial Color,' 'Artificial Color Added,'
                                                                      11 Plaintiffs'   opposition to the Motion raises the argument that
or 'Color Added' (or by an equally informative term that
                                                                      their claims are based, at least in part, on the premise that
                                                                      Pepsi Beverages were "misbranded" within the meaning of the
8 Section   343-1(a)(2) preempts state requirements that are not      FDCA. See Docket No. 86, Opp. at 13. Section 343-1, by its

identical to sections 343(c), 343(e), 343(i)(2), 343(w), or           terms, allows states to establish requirements identical to

343(x).                                                               FDCA requirements that are otherwise subject to express
                                                                      preemption. See In re Farm Raised Salmon Cases, 42 Cal.4th
9 Section   343-1(a)(3) preempts state requirements that are not      at 1086. In that respect, California has enacted the "Sherman
identical to sections 343(b), 343(d), 343(f), 343(h), 343(i)(1), or   Law," which prohibits the misbranding of food using language
343(k).                                                               which is identical scope as that of the FDCA. Id. The Sherman

                                                         Jonathan Neuman
              Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 18 of 33
                                                                                                                    Page 17 of 32
                              108 F. Supp. 3d 780, *800; 2015 U.S. Dist. LEXIS 73336, **42


Thus, the misbranding provisions subject to express                plaintiffs distinguishes this case from others, wherein
preemption under the NLEA do not in an obvious facial              the alleged statement or omission was specifically
manner cover the warning required by Proposition 65,               sanctioned by particular federal labeling regulations. Cf.
because the duties imposed by Proposition 65 are not               In re Bisphenol-A (BPA) Polycarbonate Plastic Products
"of the type" of those imposed under the misbranding               Liab. Litig., No. 08-1967-MD-W-ODS, 2009 U.S. Dist.
provisions subject to preemption; i.e., §§ 343(i)                  LEXIS 104451, 2009 WL 3762965 at *5 (W.D. Mo. Nov.
(common or usual name for food or ingredients) and                 9, 2009) (noting FDA specifically exempted BPA from
343(k) (labeling of any artificial coloring). Proposition 65       disclosure in its implementing regulations).12
does not take issue with the use of the term "caramel
color" for the color additive at issue here. Instead, it
                                                                   12 For   example,   cases   involving    nutrient    and   disease
addresses the safety of the compound that is a
                                                                   prevention claims under Section 343(r) are distinguishable.
byproduct of the additive. Cf. Altria, 555 U.S. at 82-83
                                                                   See Chacanaca, 752 F. Supp. 2d at 1121 ("The statement
(distinguishing between fraudulent labeling statements             would not be misbranded under subsection (r) and the
and warnings and holding that while warnings were                  plaintiffs' state law claims therefore seek to impose a non-
preempted, a general consumer protection act claim                 identical burden."); Turek, 662 F.3d at 427 ("The disclaimers
that merely encompassed harms related to smoking and               that the plaintiff wants added to the labeling of the defendants'

health was not expressly preempted by the amended                  inulin-containing   chewy   bars   [distinguishing     inulin   from
                                                                   "natural" fiber] are not identical to the labeling requirements
Federal Cigarette Labeling and Advertising Act, which
                                                                   imposed on such products by federal law, and so they are
expressly preempted requirements that were "based on
                                                                   barred."); Gustavson v. Wrigley Sales Co., 961 F. Supp. 2d
smoking and health . . . with respect to the advertising
                                                                   1100, 1123 (N.D. Cal. 2013) (dismissing calorie-related claims
or promotion of any cigarettes the packages of which
                                                                   as expressly preempted, because statements regarding
are labeled in conformity with the provisions" of the act;         calories "appear to comply with all applicable federal
state law claim [**45] based on statements did not                 regulations," and therefore [**46]      "any finding that these
create a requirement based on smoking and health).                 claims are unlawful and deceptive would impose requirements
                                                                   not identical to the FDA's regulations");Trazo v. Nestle USA,
The lack of a specific FDA labeling requirement which              Inc., No. 5:12-CV-2272 PSG, 2013 U.S. Dist. LEXIS 113534,
conflicts with the Proposition 65 warning sought by the            2013 WL 4083218, at *6 (N.D. Cal. Aug. 9, 2013) ("If Nestle's
                                                                   products are compliant with the FDCA, Plaintiffs' claims on
Law incorporates all food regulations adopted pursuant to the      those products are expressly preempted by Section 343-
FDCA. Id. (citing Cal. Health & Saf. C. § 110100(a)). Plaintiffs   1(a)."). As part of the NLEA, Congress directed the FDA to
do not mention misbranding anywhere in the CAC. In this            promulgate    regulations    defining    terms      regarding    the
case, Plaintiffs have not brought claims for misbranding arising   characterization of nutrient levels. Pub.L. No. 101-535, §
under or based on California's Sherman Law. Cf. Astiana, 783       3(b)(1)(A). The FDA's regulations on those terms dictate
F.3d 753, 2015 WL 1600205, at *3; In re Farm Raised Salmon         whether a food is deemed misbranded. 21 U.S.C. § 343(r)
Cases, 42 Cal.4th at 1086. To the extent Plaintiffs now seek to    (deeming food misbranded if a label characterizes certain
raise a misbranding claim based on the use of the use of the       nutrients using terms other than those defined in the FDA's
term "Caramel color," that claim fails, as the Pepsi Beverages     regulations). In other words, Section 343(r) addresses a broad
complied with the FDCA's requirements on the identification of     range of statements with detailed regulations enacted
caramel color and Plaintiffs have failed to allege or show how     pursuant to formal rule-making, balancing various interests
the Pepsi Beverages' [**44]     labels would be misbranded         and specifically circumscribing labeling statements. See, e.g.,
under the FDCA.                                                    Food Labeling: Nutrient Content Claims, General Principles,

                                                       Jonathan Neuman
              Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 19 of 33
                                                                                                               Page 18 of 32
                               108 F. Supp. 3d 780, *800; 2015 U.S. Dist. LEXIS 73336, **46


[*801] Furthermore, the intent of the NLEA (and the               cancer. The NLEA specifically provides that the express
misbranding provisions) was to cover "only nutrients or           preemption provision "shall not be construed to apply to
substances in food that 'nourish,'" and the NLEA "does            any requirement respecting a statement in the labeling
not in any way regulate carcinogens or other, non-                of food that provides for a warning concerning the safety
nutritive substances in foods." H.R.Rep. No. 101-538, at          of the food or component of the food." Pub.L. No. 101-
7 (1990), reprinted at 1990 U.S.C.C.A.N. 3336, 3337.              535, § 6(c)(2) (21 U.S.C. § 343-1 note). Thus, the NLEA
As Congress's statement of intent sets forth: "This               carves out an exemption from its express preemption
section [the savings clause in Section 6(c)(2)] may be            clause where warnings concerning the safety of food or
unnecessary because section 403 [i.e. 21 U.S.C. § 343,            component of food are at issue.
the misbranding provision subject to the express
preemption provisions of the NLEA] does not require               [*802] The Proposition 65 warning13 and the cancer

health warnings and therefore, by the terms of section            risks alleged in the CAC unambiguously implicate safety

403A [i.e. 21 U.S.C. § 343-1(a), the preemption                   concerns. Thus, unlike cases in which no safety

provisions added by the NLEA], state laws requiring               concerns are raised, the Section 6(c)(2) exemption from

health   warnings      would     not   be   preempted."     136   preemption applies where, as here, such concerns are

Congressional Record, 101st Congress, 2nd Session at              manifest.

20419 (July 30, 1990) (emphasis added). Hence,
                                                                  In this regard, Pepsi's reliance on two cases it cites is
Proposition 65's regulation of carcinogenic warnings
                                                                  inapposite. These cases grappled with the initial
which do not alter FDA sanctioned labels on coloring is
                                                                  question of whether the safety of food was sufficiently
not inconsistent with the letter or purpose of the NLEA.
                                                                  implicated to invoke the Section 6(c)(2) exemption. Mills
Cf. Wyeth, 555 U.S. at 570 (finding that "strengthening
                                                                  v. Giant of Maryland, LLC, 441 F. Supp. 2d 104 (D.D.C.
the warning" regarding antihistamine would not have
                                                                  2006) aff'd, 508 F.3d 11, 390 U.S. App. D.C. 11 (D.C.
rendered it "misbranded" under the FDCA's provisions
                                                                  Cir. 2007), concluded that the Section 6(c)(2) exemption
regarding misbranded drugs and devices).
                                                                  did not apply [**49] in a case where the safety concern
ii. The Savings Clause Under Section 6(c)(2)                      hinged on the risk of gastrointestinal discomfort, e.g.,
                                                                  flatulence    and     bloating,    associated   with   lactose
Even if a Proposition 65 warning somehow improperly
                                                                  intolerance. Id. at 109. Mills found that the FDA did not
added     a    non-identical     burden     on   labeling    or
                                                                  recognize this type of gastrointestinal irritation as a
conflicted [**48] with the FDA's listing of caramel color
                                                                  safety concern. Id. Unlike Mills, as discussed more fully
in a way that implicated Section 343-1, Section 6(c)(2)
                                                                  infra with respect to the Delaney Clause, this case
saves from express preemption state laws such as
                                                                  involves the risk of cancer, which the FDA and
Proposition 65 requiring food safety warnings for e.g.,
                                                                  Congress recognize as a risk implicating food safety.

Petitions, Definition of Terms, 56 Fed. Reg. 60,421, 60,423       Pepsi      also   points   to     In re Bisphenol-A (BPA)
(November 27, 1991) (noting in proposed rule that "[t]o ensure    Polycarbonate Plastic Products Liab. Litig., No. 08-
that consumers are not misled and are given reliable
information, Congress found, and FDA agrees, that it is
appropriate for the agency to establish specific definitions to   13 "WARNING:      This product contains a chemical known to the
standardize the terms used by manufacturers to describe the       State of California to cause cancer." 27 Cal. Code Regs. §
nutrient content [**47] of foods.").                              25603.2.

                                                      Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 20 of 33
                                                                                                        Page 19 of 32
                            108 F. Supp. 3d 780, *802; 2015 U.S. Dist. LEXIS 73336, **49


1967-MD-W-ODS, 2009 U.S. Dist. LEXIS 104451, 2009             history, and purpose of the NLEA as set forth by Section
WL 3762965 (W.D. Mo. Nov. 9, 2009) for the                    6(c)(2). See Lockwood, 597 F. Supp. 2d at 1033
proposition that if the FDA finds that a substance is         (observing "the NLEA — including the savings clause
"safe," the exemption from express preemption cannot          (no preemption unless the law is expressly preempted)
apply. 2009 U.S. Dist. LEXIS 104451, [WL] at *6. At the       — shall not be construed to affect preemption of food
outset, In re BPA found no implied conflict preemption        safety laws"). [**51]
based on the FDA's safety determination, specifically
                                                              First, the language of the Section 6(c)(2) exemption is
observing that the FDA's "approval of BPA as safe
                                                              plain. Congress specifically determined that the express
without    labeling   requirements   establishes   only   a
                                                              preemption provision shall not be construed to apply to
regulatory minimum; nothing on these regulations either
                                                              [*803] "any requirement" that provides for a warning
required or prohibited Defendants from providing the
                                                              concerning the "safety" of a food component. Pub.L. No.
disclosures sought by Plaintiffs." 2009 U.S. Dist. LEXIS
                                                              101-535, § 6(c)(2) (21 U.S.C. § 343-1 note). Its wording
104451, [WL] at *4 (emphasis in original). Where the
                                                              applies to all such state laws, without regard to whether
safety determination sets only a floor it does not
                                                              the FDA has made a finding to the contrary. Proposition
preclude state law causes of action, particularly in view
                                                              65 is such a law.
of the presumption against [**50] preemption. Wyeth,
555 U.S. at 573-74. Nevertheless, the court in BPA            Second, the legislative history supports a broad
found express preemption, pursuant to a misbranding           construction of the savings clause. The NLEA was
regulation under Section 343(i)(2). In re BPA declined to     sponsored by Representative Henry Waxman. When
give effect to the safety exception to the NLEA's             the   House        considered   and   passed   the   NLEA,
preemption clause, because the FDA had concluded by           Congressman Waxman addressed certain changes
another regulation that the use of BPA in epoxy liners        made to the bill's language since it had been initially
was "safe". In re BPA, 2009 U.S. Dist. LEXIS 104451,          reported — changes that arose in the course of
2009 WL 3762965, at *6. In re BPA reasoned that it was        negotiations within the Committee on Energy and
appropriate to defer to the FDA's determination of safety     Commerce and in connection with input from private
to apply the safety exception, because otherwise a state      parties.     See    136   Congressional   Record,    101st
could "impose almost any requirement on food labeling         Congress, 2nd Session at 20414-21 (July 30, 1990)
that conceivably could concern food safety, a result          (statement of Mr. Waxman). These changes added the
Congress surely did not intend." Id. Thus, the court          provision regarding construction, which narrowed the
rejected application of the savings clause of Section         scope of the preemption provision contained in the bill
6(c)(2).                                                      from when it was first reported by the Committee. Id. In
                                                              particular, Congressman Waxman explained why the
The Court disagrees with In re BPA's conclusion that a
                                                              original, more expansive preemption provision was
safety determination by the FDA precludes application
                                                              explicitly   narrowed.    Id. He deemed "most [**52]
of Section 6(c)(2), the NLEA's savings clause. Instead,
                                                              important[]" the principle that "the most compelling
this   Court    concludes    that    state   law   warning
                                                              argument for State regulation is where the States have
requirements as to food safety are saved from express
                                                              adopted laws to protect the safety of their citizens." Id.
preemption under Section 6(c)(2) of the NLEA. This
                                                              at 20419. He explained that "[t]herefore, the [amended]
conclusion is faithful to the plain language, legislative
                                                              preemption provisions in H.R. 3562 explicitly permit the

                                                   Jonathan Neuman
             Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 21 of 33
                                                                                                             Page 20 of 32
                            108 F. Supp. 3d 780, *803; 2015 U.S. Dist. LEXIS 73336, **52


States to adopt requirements for warning about the             The    Senate       hearings    addressed     the     scope    of
ingredients or components of food." Id. Hence, the             preemption as well. Senator Metzenbaum discussed the
sponsor of the NLEA made clear the importance of               "uniformity question" with the then-Commissioner of the
exempting state safety laws from federal preemption.           FDA. Hearing on S. 1425, Before the Senate Comm. on
                                                               Labor and Human Resources, 101st Cong., 1st Sess.
The legislative intent behind the changes to the
                                                               13 at 24 (November 13, 1989). Senator Metzenbaum
preemption provision was also memorialized in a
                                                               observed that while the NLEA included specific
separate statement of intent. Id. at 20418. That
                                                               preemption of nutrition provisions, it did "not preempt
statement provides:
                                                               State labeling [*804] laws in other areas, including

     Section 403A(b)(1) [later enacted as Section              pesticides    and      cancer    warnings."     Id.     Senator
     6(c)(2)] states that section 403(a) does not apply to     Metzenbaum indicated his view [**54] that uniformity in

     any requirement for a statement in food labeling          food safety standards should be dealt with in a separate

     (including statements on the label) that provides a       bill on food safety issues. Id. The FDA Commissioner

     warning concerning the safety of the food or a            responded      by     acknowledging    the     benefits       and

     component of the food. This section may be                challenges with achieving uniformity. Id. He specifically
     unnecessary because section 403 does not require          commented on Proposition 65, observing that at that

     health warnings and therefore, by the terms of            time he did not see any particular area that was out of

     section 403A, state laws requiring health warnings        compliance. Id. He indicated that the FDA would

     would not be preempted. Nevertheless, section             proceed on a "case-by-case basis" and deferred to a
     403A(b)(1) has been included to underscore that           letter from Jay Plager of the Executive Office of the

     State laws requiring warnings pertaining to the           President. Id. That letter communicated to Congress

     safety of foods are not preempted.                        that the Reagan administration had formally established
                                                               a position (in collaboration with FDA Commissioner
Id. at 20419 (emphasis added). Following Congressman           Young) that there would be "no Federal preemptive
Waxman's      comments,      Representative [**53]      Tom    action — either by regulation or otherwise" with respect
McMillen rose in support of passage of the bill, which he      to Proposition 65. Id. at 42. The administration of then-
viewed as a "positive step toward national uniformity in       president Bush had revisited and adopted this position
food labeling," but also voiced his "disappointment that       without change. Id.
this legislation is silent on the issue of health warnings."
Id. at 20423. He explained that "[w]ithout national            Later, during Senate consideration and passage of the
uniformity requirements for health warnings on food            NLEA, Senator Hatch stated:
labels, manufacturers are forced to continue operating
                                                                     [T]he carefully crafted uniformity section of this
in   a   system       of   patchwork    regulations."    Id.
                                                                     legislation is limited in scope. That section does not
Notwithstanding Congressman McMillen's statements
                                                                     preempt or affect a requirement respecting a
regarding the pitfalls of a patchwork of health warning
                                                                     statement in the labeling of food that provides for a
regulations, the House passed the amended bill. Id.
                                                                     warning concerning the safety of a [**55] food or a
Health warnings were never incorporated into the NLEA
                                                                     component of a food. . . . [A]lthough the provisions
or the related FDCA misbranding provisions.
                                                                     of this bill may not preempt a State warning
                                                                     requirement . . . that very same State warning may

                                                     Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 22 of 33
                                                                                                              Page 21 of 32
                                 108 F. Supp. 3d 780, *804; 2015 U.S. Dist. LEXIS 73336, **55


       be preempted by virtue of the Constitution, another       law safety warning requirements from the scope of the
       statutory provision, or agency action. . . . [T]he        NLEA's express preemption provision. The legislative
       limited preemption in this bill [is] only one step        history illustrates that Congress specifically considered
       toward expanding uniformity of labeling laws and          preempting state causes of action that require health
       food safety requirements through existing law as          warnings, such as Proposition 65 particularly as applied
       well as future legislation.                               to carcinogens. Congress [*805] explicitly declined to
136 Congressional Record, 101st Congress, 2nd                    do so through express preemption. Pub.L. No. 101-535,
Session at 33429 (October 24, 1990) (statement of Mr.            § 6(c)(2) (21 U.S.C. § 343-1 note). Even if a case of
Hatch).                                                          express preemption could otherwise be made, the
                                                                 Proposition 65 warning here is saved from express
This     legislative   history     weighs   strongly   against
                                                                 preemption under the NLEA under Section 6(c)(2)
preemption. "'The case for federal pre-emption is
                                                                 because Proposition 65 unquestionably involves food
particularly weak where Congress has indicated its
                                                                 safety and in particular suspected carcinogens.
awareness of the operation of state law in a field of
                                                                 b. The FDA's Regulatory Finding That Caramel Color is
federal interest, and has nonetheless decided to stand
                                                                 Safe Does Not Expressly Preempt Proposition 65
by both concepts and to tolerate whatever tension there
[is] between them.'" Wyeth, 555 U.S. at 575 (quoting             Defendant argues that the "identical to" standard
Bonito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S.        encompassed [**57] in the FDA misbranding provisions
141, 166-167, 109 S. Ct. 971, 103 L. Ed. 2d 118                  applies with particular vigor here, because as explained
(1989)).                                                         below, the FDA authorization of the descriptive term
                                                                 "caramel color" arguably encompasses the FDA's
Third, preemption is particularly disfavored where state
                                                                 predicate determination that caramel color is safe which
laws in exercise of traditional and historic police powers
                                                                 allowed caramel color to be listed as a color additive
to protect health and safety are rendered ineffective,
                                                                 exempt   from      certification.   Importantly,   that   FDA
Allenby, 958 F.2d at 943 (cautioning that courts should
                                                                 determination was made under the Color Additive
be "especially unlikely" to find preemption of state laws
                                                                 Amendments, which predated the NLEA.
that regulate health and safety), a point underscored by
the legislative history of § 6(c)(2).                            In 1960, thirty years before the enactment of the NLEA,
                                                                 the FDCA was amended to add the Color Additive
Finally, it is noteworthy that food manufacturers have
                                                                 Amendments, which "establish[ed] an elaborate system
petitioned [**56] Congress to enact legislation expressly
                                                                 for regulation of color additives in the interests of
preempting state warning requirements as to ingredients
                                                                 safety." Pub. Citizen v. Young, 831 F.2d 1108, 1109,
that the FDA has deemed safe. See Peter Barton Hutt,
                                                                 265 U.S. App. D.C. 349 (D.C. Cir. 1987). The Color
Richard A. Merrill & Lewis A. Grossman, Food and Drug
                                                                 Additive Amendments, like the sections of the FDCA
Law 315 (4th ed. 2014). Such legislation was reported in
                                                                 concerning food additives and new animal drugs,
2000, 2004, and 2006, but no such legislation has been
                                                                 contains what is commonly known as the "Delaney
passed. Id.
                                                                 Clause." Id. In relevant part, the color additive Delaney
In sum, the plain language of the NLEA, which is                 Clause provides:
uncontradicted by its legislative history, excludes state            A color additive [. . .] shall be deemed unsafe, and


                                                       Jonathan Neuman
              Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 23 of 33
                                                                                                             Page 22 of 32
                             108 F. Supp. 3d 780, *805; 2015 U.S. Dist. LEXIS 73336, **57


     shall not be listed, for any use which will or may        (identifying the "color additive caramel" as the dark-
     result in ingestion of all or part of such additive, if   brown material "resulting from the carefully controlled
     the additive is found by the Secretary to induce          heat treatment" of certain food-grade carbohydrates and
     cancer when ingested by man or animal, or if it is        subject [*806] to the use of food-grade acids, alkalis,
     found by the Secretary, after tests which are             and    salts      that   may     be   employed      to   assist
     appropriate for the evaluation of the safety of           caramelization, finding "Caramel may be safely used for
     additives for use in food, to induce cancer in man or     coloring foods generally, in amounts consistent with
     animal[.]                                                 good manufacturing practice," and exempting caramel
                                                               from certification), 70.25 ("All color additives shall be
21 U.S.C. § 379e(b)(5)(B).
                                                               labeled with sufficient information to assure their safe
                                                               use and to allow a determination of compliance with any
Thus, under the [**58] Color Additive Amendments, a
                                                               limitations imposed by this part and parts 71, 73, 74, 80,
"color additive may be used only after the [FDA] has
                                                               and 81 of this chapter."); 182.1235 (Caramel "is
published a regulation listing the additive for such uses
                                                               generally recognized as safe when used in accordance
as are safe." Pub. Citizen, 831 F.2d at 1109. As part of
                                                               with good manufacturing practice"); 21 U.S.C. §
listing the additive as safe, the FDA may prescribe the
                                                               379e(b)(4) ("The Secretary shall not list a color additive
conditions of safe use and must either batch certify the
                                                               under this section for a proposed use unless the data
additive or exempt the additive from the certification
                                                               before him establish that such use, under the conditions
requirement. 21 U.S.C. § 379e(a). This includes a
                                                               of use specified in the regulations, will be safe."); 21
determination of safety. § 379e(b)(4), (5).
                                                               U.S.C. § 379e(b)(5)(B).
Here the FDA made a safety determination under the
                                                               In contrast with the NLEA, however, the Delaney Clause
Color Additive Amendments in permitting caramel color
                                                               does not have a preemption provision. Riegel, 552 U.S.
to be listed and exempt from certification. 21 C.F.R. §§
                                                               at 341 (Ginsburg, J., dissenting) (observing, more than
73.85; 182.1235; 21 U.S.C. § 379e(b)(4); 21 U.S.C. §
                                                               15 years after the enactment of the NLEA, that the Color
379e(b)(5)(B). Plaintiffs allege that Class IV caramel
                                                               Additive Amendments, along [**60] with other FDCA
coloring is found in the Pepsi Beverages and is created
                                                               amendments requiring premarket approval, were not
through an ammonia-sulfate process. CAC ¶¶ 18-19.
The CAC identifies 4-MeI as a byproduct of the                 subject to any preemption clause).14 Compare 21

manufacturing of caramel color IV. CAC ¶¶ 19, 22. The          U.S.C. § 379e with § 343-1(a). Hence, express
FDA has determined that the additive described as              preemption does not apply to the specific safety

caramel color includes caramel manufactured with               determination made by the FDA under Color Additive

ammonium- and sulfate-containing compounds, such as            Amendments.

that used in the Pepsi Beverages. See 21 C.F.R. §
                                                               Even if the lack of a preemption provision in the Color
73.85(a)(2)(iii).   Nonetheless,   the   FDA    specifically
                                                               Additive Amendments did not complete the inquiry and
approved "caramel" for use as a color additive after the
                                                               the Court was to give effect to the more general
agency concluded that caramel color is "generally
recognized as safe when used in accordance with good
manufacturing practice" and does not induce cancer in          14 Indeed,   Pepsi cites no preemption provision other than that
man or animals [**59] at any level. 21 C.F.R. §§ 73.85         provided under the NLEA.

                                                   Jonathan Neuman
             Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 24 of 33
                                                                                                                 Page 23 of 32
                              108 F. Supp. 3d 780, *806; 2015 U.S. Dist. LEXIS 73336, **60


preemption provisions of the subsequently enacted                     (5) the inclusion of a provision specifically saving state
NLEA, the Court finds that the FDA's regulatory finding               law claims based on warnings as to safety, and (6)
regarding the safety of caramel coloring does not                     Congress's consideration and lack of action as to
expressly preempt Proposition 65 under the NLEA. The                  specific   legislation   that   would   expressly   preempt
FDA's safety determination is itself not a regulation of              warning [**62]    requirements such as those under
"the labeling of food," 21 U.S.C. 343-1(a). Instead it was            Proposition 65, the Court concludes that it was not
a   subsidiary     finding     predicate       to    a     labeling   Congress's clear and manifest intent to include
determination. The ultimate preemption question turns                 Proposition 65 warning claims within the scope of the
on whether Proposition 65 conflicts with that ultimate                NLEA's express preemption clause. Moreover, the Color
labeling determination. As noted above, Proposition 65                Additive Amendments and the Delaney Clause under
is not a requirement for the "labeling of food of the type            which the FDA issued its safety finding contain no
required by" Section 343(i) or 343(k). Furthermore, as                express preemption clause.
discussed above, Congress intended the NLEA (and the
                                                                      c. Material Misrepresentations
misbranding provisions) to cover "only nutrients or
substances    in   food      that    'nourish[;]'"   the     NLEA     The CAC alleges a material misstatement in the form of
"does [**61] not in any way regulate carcinogens or                   a public statement regarding steps that Pepsi had taken
other, non-nutritive substances in foods." H.R.Rep. No.               to conform its beverages to state regulations. CAC ¶¶
101-538, at 7 (1990), reprinted at 1990 U.S.C.C.A.N.                  31; 40; 47-48. In the light most favorable to Plaintiffs,
3336, 3337. Proposition 65 is therefore not subject to                the misstatement or omissions that Pepsi made in its
express preemption under the NLEA. 21 U.S.C. 343-                     public statements and/or on its website is a deceptive
1(a); see POM Wonderful, 134 S. Ct. at 2238 (noting "[i]t             claim regarding a consumer product. Pepsi has pointed
is significant that the complex pre-emption provision                 to no provision of the FDCA or FDA regulations that
distinguishes among different FDCA requirements" and                  preempts      claims      based     on     such     alleged
preempts "only certain FDCA provisions"); see also 21                 misrepresentations, which are not alleged to be included
C.F.R.   §   100.1(c)(4)      (discussing       preemption       of   on product labels or packaging. As noted above, the
regulations that implement 21 U.S.C. §§ 341, 343 and                  alleged misstatements are independent of Proposition
not preemption by implementing regulations of other                   65 compliance. The Court concludes that these claims
FDCA     provisions,   such         as   the   Color       Additive   are not preempted, expressly or otherwise. Astiana, 783
Amendments).                                                          F.3d 753, 2015 WL 1600205, at *3 (holding claims of
                                                                      "deception as a result of advertising statements that
In sum, considering (1) the plain language of the
                                                                      contradicted the true ingredients listed on the FDA-
government statutes, (2) the presumption against
                                                                      mandated [**63] label" are not preempted).
preemption of the states' historic police powers,
                                                                      2. Implied Preemption
Medtronic, 518 U.S. at 485, (3) the related requirement
to accept, when plausible, the reading of an express                  Having found that the NLEA does not expressly preempt
preemption clause that disfavors preemption, see Altria,              Proposition 65, the Court addresses implied preemption.
555 U.S. at 77, (4) the evidence of Congress's intent not             In particular, the Court addresses field and conflict
to regulate carcinogens or include state warning [*807]               preemption; as to conflict preemption, the Court
laws under the NLEA's express preemption provision,                   examines both impossibility and obstacle preemption.


                                                           Jonathan Neuman
                Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 25 of 33
                                                                                                                Page 24 of 32
                               108 F. Supp. 3d 780, *807; 2015 U.S. Dist. LEXIS 73336, **63


a. Field Preemption                                                concludes that Plaintiffs' claims are not barred by field
                                                                   preemption.
As discussed supra, the NLEA provides that it "shall not
                                                                   b. Conflict Preemption
be construed to preempt any provision of State law,
unless such provision is expressly preempted." 21
                                                                   The NLEA left open the possibility that warning
U.S.C. § 343-1. The NLEA's savings clause reflects that
                                                                   requirements regarding food safety may be preempted
Congress        "disavow[ed]   any   implied     preemption."
                                                                   by federal law not amended by the NLEA. See Pub. L.
Lockwood, 597 F. Supp. 2d at 1032; see also Turek,
                                                                   No. 101-535, § 6(c)(3) (21 U.S.C. § 343-1 note); see
662 F.3d at 425. Instead, "Congress has explicitly stated
                                                                   also Reid, 780 F.3d at 967 n. 2. In general, "Congress'
that it does not intend to occupy the field of food and
                                                                   enactment of a provision defining the pre-emptive reach
beverage nutritional labeling; [] it permits states to
                                                                   of a statute implies that matters beyond that reach are
regulate subject matters covered by the NLEA and its
                                                                   not pre-empted." Cipollone, 505 U.S. at 517. Here,
regulations provided that such state laws do not fall
                                                                   however, Section 6(c)(3), the third and final provision of
within the FDCA's express preemption provisions."
                                                                   the NLEA's construction note, provides:
Lockwood, 597 F. Supp. 2d at 1032.
                                                                       The amendment made by subsection (a), the
Moreover, Congress enacted the FDCA to protect                         provisions of subsection (b) and paragraphs (1) and
consumers and was cognizant of the existence of state                  (2) of this subsection shall not be construed [**65]
law causes of action. Wyeth, 555 U.S. at 574; Riegel,                  to affect preemption, express or implied, of any
552 U.S. at 341 (Ginsburg, J., dissenting) (observing                  such requirement of a State or political subdivision,
that the Color Additive Amendment was enacted with                     which may arise under the Constitution, any
common law tort litigation, such as personal injury                    provision of the Federal Food, Drug, and Cosmetic
lawsuits, as "a prominent part of the legal landscape").               Act not amended by subsection (a), any other
There is no [**64] federal private consumer remedy to                  Federal law, or any Federal regulation, order, or
enforce the FDCA. 21 U.S.C. § 337(a) ("[A]ll such                      other final agency action reviewable under chapter
proceedings for the enforcement [of the FDCA] . . . shall              7 of title 5, United States Code.
be by and in the name of the United States"); POM                  Pub.L. No. 101-535, § 6(c)(3). Arguably then, Plaintiffs'
Wonderful, 134 S. Ct. at 2235 (2014); Buckman Co. v.               safety warning assertedly required under California law
Plaintiffs' Legal Comm., 531 U.S. 341, 349 n.4, 121 S.             may be subject to implied preemption by a federal law
Ct. 1012, 148 L. Ed. 2d 854 (2001) ("The FDCA leaves               that pre-dates (and was left unamended by) the NLEA.
no doubt that it is the Federal Government rather than
private litigants who are authorized to file suit for              As discussed above, there are two types of conflict

noncompliance . . . ."). The absence of such a remedy              preemption:   (1)   impossibility      preemption    and     (2)

evidences       Congress's     determination     "that    widely   obstacle preemption. Federal law preempts state law

available state rights of action provided appropriate              "where   compliance      with   both     federal    and    state

relief for injured consumers." Wyeth, 555 U.S. at 574;             regulations is a physical impossibility." Florida Lime, 373

[*808] cf. Cipollone, 505 U.S. at 518 ("That Congress              U.S. 132, 142-43, 83 S. Ct. 1210, 10 L. Ed. 2d 248. A
requires    a     particular   warning   label     does     not    finding of impossibility requires more than a showing of

automatically pre-empt a regulatory field."). The Court            differences between federal and state standards;
                                                                   impossibility arises only where there is an "inevitable

                                                         Jonathan Neuman
                  Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 26 of 33
                                                                                                                             Page 25 of 32
                                   108 F. Supp. 3d 780, *808; 2015 U.S. Dist. LEXIS 73336, **65


collision between the two schemes of regulation" that                        [*809] the color additive Delaney Clause provides:
results in "impossibility of dual compliance." Id.; Mut.                           A color additive [. . .] shall be deemed unsafe, and
Pharm. Co. v. Bartlett, 133 S. Ct. 2466, 2485, 186 L. Ed.                          shall not be listed, for any use which will or may
2d    607        (2013)   ("Impossibility        pre-emption     is     a          result in ingestion of all or part of such additive, if
demanding defense, that requires the defendant to                                  the additive is found by the Secretary to induce
show        an    irreconcilable      conflict    between      federal             cancer when ingested by man or animal, or if it is
and [**66] state legal obligations." (internal citations                           found by the Secretary, after tests which are
omitted)); PLIVA, Inc. v. Mensing, 131 S. Ct. 2567,                                appropriate for the evaluation of the safety of
2577, 180 L. Ed. 2d 580 (2011) (finding impossibility                              additives for use in food, to induce cancer in man or
where it was "not lawful under federal law for the                                 animal[.]
Manufacturers to do what state law required of them.").
                                                                             21 U.S.C. § 379e(b)(5)(B).
Obstruction preemption arises where "the challenged
state law stands as an obstacle to the accomplishment                        Specifically, Pepsi argues that Proposition 65's warning
and execution of the full purposes and objectives of                         requirement for 4-MeI is inconsistent with the FDA's
Congress." Crosby, 530 U.S. at 373 (citing Hines, 312                        finding that caramel color is safe even though it contains
U.S. at 67). "What is a sufficient obstacle is a matter of                   4-MeI. As discussed above, the Delaney Clause is not
judgment, to be informed by examining the federal                            subject to an express preemption provision. There is a
statute as a whole and identifying its purpose and                           reason for this. The D.C. Circuit in Public Citizen v.
intended effects." Id.                                                       Young, 831 F.2d 1108, 265 U.S. App. D.C. 349 (D.C.
                                                                             Cir. 1987) discussed the legislative history of the
Pepsi alleges that the Proposition 65 warning claim is
preempted by the FDA's listing of caramel color
                                                                             color additive. Scott v. Food & Drug Admin., 728 F.2d 322,
pursuant to the Delaney Clause.15 As discussed above,
                                                                             323 (6th Cir. 1984). Scott reasoned that "Congress
                                                                             distinguished between 'pure dye' and its 'impurities' in its list of
15 Public   Citizen analyzed a challenge to the FDA's decision to            factors for the FDA to consider under the General Safety

list two color additives [**67] for which the FDA's scientific               Clause, but omitted 'impurities' as a factor under the Delaney

review panel concluded the "lifetime cancer risks of the                     Clause." Id. at 325. Public Citizen did not disagree with Scott,

substances [were] extremely small," ranging from one in nine                 finding meaningful the fact that the dye "as a whole" had not

million to one in 19 billion. Id. at 1111. Public Citizen                    been found to induce cancer. Pub. Citizen, 831 F.2d at 1118.

concluded that the Delaney Clause was not subject to de                      Thus, while it is clear that Public Citizen concluded that there

minimis      exceptions    even    for    "exceedingly   small        (but   was    no   de    minimis    exception [**68]     to   the   FDA's

measurable) risks." Id. at 1113; cf. Les v. Reilly, 968 F.2d 985,            determination that the additive itself is generally safe, Public

990 (9th Cir. 1992) (holding no de minimis exception in                      Citizen concluded that "[a]pplication of a de minimis exception

provision of Delaney clause prohibiting food additives that                  for constituents of a color additive [ ] seems to us materially

induce cancer). Public Citizen did not discuss preemption.                   different from use of such a doctrine for the color additive
                                                                             itself." Id. at 1119 (emphasis in original). In other words, Public
Public      Citizen   distinguished      Scott   v.   Food   &    Drug       Citizen acknowledges that de minimis exceptions persist "on
Administration, in which the Sixth Circuit determined that the               the periphery of the Delaney Clause[]," e.g., where the
Delaney Clause "did not bar the permanent listing of D & C                   carcinogen in question is a constituent impurity and the FDA
Green No. 5" even where p-toluidine, a known carcinogen,                     has not "squeezed the scientific trigger" with respect to the
was present in minute quantities as a chemical impurity in the               dye as a whole. Id. at 1116-17, 1119.

                                                             Jonathan Neuman
             Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 27 of 33
                                                                                                         Page 26 of 32
                            108 F. Supp. 3d 780, *809; 2015 U.S. Dist. LEXIS 73336, **68


Delaney Clause at length. That legislative history             statutory schemes with one another rather than holding
reveals that, unlike the NLEA, the Delaney Clause did          that one has been completely ousted" and compliance
not seek to resolve a patchwork of state requirements.         with both FIFRA and Proposition 65 was possible).
Instead, the Delaney Clause was borne out of "intense
                                                               Nor is there obstruction preemption; Proposition 65 is
congressional concern over cancer risks from man-
                                                               not an "obstacle to the accomplishment and execution"
made substances." Pub. Citizen, 831 F.2d at 1113.
                                                               of Congress's "full purposes and objectives" in enacting
Congress acted out of an apparent intent to "do
                                                               the Delaney Clause. Crosby, 530 U.S. at 373.
everything possible to put persons in [**69] a position
                                                               Proposition 65's warning requirement does not ban
where they will not unnecessarily be adding residues of
                                                               affected compounds permitted by the FDA; it merely
carcinogens to their diet." Id. at 1114 (quoting hearing
                                                               requires a warning. See Cal. Health & Saf. Code §
testimony of Arthur S. Flemming, Secretary of Health,
                                                               25249.6. The purpose of the Proposition 65 warning
Education, and Welfare). Thus, the safety determination
                                                               requirement is to allow consumers to make informed
and related decisions not to set limitations on caramel
                                                               choices. See Dowhal, 32 Cal. 4th at 934-35. The fact
color's use under the Delaney Clause were intended to
                                                               that Proposition 65 might require safety warnings more
set only a regulatory floor, not a ceiling, that does not
                                                               protective of the public as to potential carcinogens
bar state law remedies. See Wyeth, 555 U.S. at 582
                                                               would not obstruct the purposes and objectives of the
(Breyer, J., concurring) (agreeing that the FDA's
                                                               Delaney Clause. As noted above, the Delaney Clause
regulation   governing    the   content   and   format    of
                                                               sets a minimum floor, not a ceiling, on consumer
prescription drug labels, which expressly maintained
                                                               protection from carcinogens. In re BPA, 2009 U.S. Dist.
that the FDA's premarket label approval established a
                                                               LEXIS 104451, 2009 WL 3762965, at *4. Cf. Wyeth, 555
regulatory ceiling with preemptive effect, did not reflect a
                                                               U.S. at 570 ("And the very idea that the FDA would
lawful specific regulation that determined and described
                                                               bring an enforcement action against a manufacturer for
when the FDA's premarket label approval served as
                                                               strengthening [**71] a warning . . . is difficult to accept
both a regulatory floor and a ceiling); see also In re
                                                               — neither Wyeth nor the United States has identified a
BPA, 2009 U.S. Dist. LEXIS 104451, 2009 WL
                                                               case in which the FDA has done so."); cf. Allenby, 958
3762965, at *4 ("[T]he FDA's approval of BPA as safe
                                                               F.2d at 947 (9th Cir. 1992) ("It seems implausible that
without   labeling   requirements    establishes   only   a
                                                               the EPA would prosecute a company for, in essence,
regulatory minimum; nothing in these regulations either
                                                               complying with Proposition 65.").
required or prohibited Defendants from providing the
disclosures sought by Plaintiffs." (emphasis in original)).
                                                               The more protective warning requirement of Proposition
                                                               65 does not prevent the Delaney Clause from achieving
[*810] As for implied conflict preemption, it is not
                                                               its vigorous anti-cancer purpose, reflecting Congress's
impossible for Pepsi to comply with the FDA's labeling
                                                               "willingness to take extreme steps to lessen even small
regulation allowing [**70] use of the term "caramel
                                                               risks [of cancer]." See Pub. Citizen, 831 F.2d at 1117;
color" while at the same time including a Proposition 65
                                                               see also Wyeth, 555 U.S. at 574, 581 (declining to find
warning. It can do both. Thus, there is no impossibility
                                                               that state failure-to-warn claims obstruct the federal
conflict preemption under Florida Lime. Crosby, 530
                                                               regulation of drug labeling where, among other things,
U.S. at 372; cf. Allenby, 958 F.2d at 949 (stating "the
                                                               "Congress enacted the FDCA to bolster consumer
proper approach is to reconcile the operation of both


                                                   Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 28 of 33
                                                                                                       Page 27 of 32
                           108 F. Supp. 3d 780, *810; 2015 U.S. Dist. LEXIS 73336, **71


protection against harmful products").                       "performed a precise balancing of risks and benefits and
                                                             [. . .] established a specific labeling standard that leaves
In undertaking "extreme steps" to prevent cancer
                                                             no room for different state-law judgments"). Cf. Local
through the passage of the Delaney Clause, Congress
                                                             20, Teamsters, Chauffeurs & Helpers Union v. Morton,
eschewed any attempt to strike a particular balance
                                                             377 U.S. 252, 259-60, 84 S. Ct. 1253, 12 L. Ed. 2d 280
between the safety interests of the public and the
                                                             (1964) ("If [state law] can be applied to proscribe the
financial interests of industry. See Pub. Citizen, 831
                                                             same type of conduct which Congress focused upon but
F.2d at 1113. Congress considered the opposing views
                                                             did not proscribe [. . .] the inevitable result would be to
of various industry and manufacturing interests (e.g., the
                                                             frustrate the congressional determination to leave this
Toilet Goods Association, the Manufacturing Chemists
                                                             weapon of self-help available, and to upset the balance
Association,     the   Pharmaceutical      Manufacturers
                                                             of power between labor and management expressed in
Association, the Certified Color Industry Committee, and
                                                             our national labor policy."); Lodge 76, Int'l Ass'n of
Eli Lilly & Co.) and [**72] specifically declined to yield
                                                             Machinists    &   Aerospace      Workers,        AFL-CIO   v.
on its position on public safety. See generally Hearings
                                                             Wisconsin Employment Relations Comm'n, 427 U.S.
on H.R. 7624 & S. 2197, Before the House Comm. on
                                                             132, 141 n.4, 96 S. Ct. 2548, 49 L. Ed. 2d 396 (1976)
Interstate and Foreign Commerce, 86th Cong., 2nd
                                                             ("[In the NLRA and LMRA] Congress struck a balance of
Sess. (January 26, 27, 29, February 10, 11, March 11,
                                                             protection, prohibition, and laissez-faire in respect to
April 5, 6, and May 9, 1960); see also H.R.Rep. No.
                                                             union organization, collective bargaining, and labor
1761, 86th Cong., 2d Sess. at 13 (1960) (noting that
                                                             disputes that would be upset if a state could also
industry witnesses had objected to and proposed
                                                             enforce statutes or rules of decision resting upon its
changes to the "anticancer clause" and "all of the
                                                             views    concerning    accommodation        of    the   same
proposed changes were rejected by the committee"
                                                             interests." (quotation omitted)). Nor is this a case where
because the proposals would "weaken the present
                                                             the FDA has required a more refined warning
anticancer clause"); Pub. Citizen, 831 F.2d at 1114-15 &
                                                             requirement that state law would dilute. Cf. Dowhal, 32
n.7 (discussing same). Therefore the driving impetus of
                                                             Cal. 4th at 934-35; Nemphos, 775 F.3d at 623 (finding
the Delaney Clause was not concern for manufacturers,
                                                             preemption where FDA's regulations specifically indicate
but rather the overriding "imperative" to "protect the
                                                             when manufacturers must provide warnings about
public from deliberate [*811] introduction of additional
                                                             fluoride in bottled water). Hence, the Proposition 65
carcinogenic materials into the human environment."
                                                             warning at issue here is entirely consistent [**74] with
H.R.Rep. No. 1761, 86th Cong., 2d Sess. at 12 (1960)
                                                             the Delaney Clause's purpose of eliminating the risk of
(quoting hearing testimony of Arthur S. Flemming); Pub.
                                                             cancer caused by foods. Obstacle preemption does not
Citizen,831 F.2d at 1114 (discussing same).
                                                             apply.

Hence, this is not a case where Proposition 65
                                                             Finally, as noted above, where the "regulated conduct
interferes with a more nuanced balance struck by
                                                             touche[s] interests so deeply rooted in local feeling and
Congress or by delegation to the FDA acting under the
                                                             responsibility," preemption will not be inferred absent
Delaney Clause. See Wyeth, 555 U.S. at 575 (rejecting
                                                             clear congressional intent. Sears, Roebuck & Co. v. San
argument that FDA's determination "that a drug is safe
                                                             Diego Cnty. Dist. Council of Carpenters, 436 U.S. 180,
and effective under the conditions set forth in its
                                                             183, 98 S. Ct. 1745, 56 L. Ed. 2d 209 (1978)).
labeling" requires a presumption that the [**73] agency

                                                 Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 29 of 33
                                                                                                           Page 28 of 32
                              108 F. Supp. 3d 780, *811; 2015 U.S. Dist. LEXIS 73336, **74


California's exercise of its police power to protect the         Semiconductor Co. v. Microchip Tech. Inc., 307 F.3d
health and safety of its citizens is a matter deeply rooted      775, 781 (9th Cir. 2002).
in local feeling and responsibility. The Delaney Clause
                                                                 There is not a "fixed formula" for when to apply the
should not lightly be construed to "sweep away" state
                                                                 doctrine of primary jurisdiction. W. Pac. R. Co., 352 U.S.
laws concerning health and safety, which are matters
                                                                 at 64. Nevertheless, the Ninth Circuit considers the
traditionally subject to state regulation. Id.; Allenby, 958
                                                                 following four factors in applying the primary jurisdiction
F.2d at 943.16
                                                                 doctrine: "(1) [a] need to resolve an issue that (2) has
For the foregoing reasons, the Court DENIES Pepsi's              been placed by Congress within the jurisdiction of an
motion to dismiss the state law claims alleged in the            administrative body having regulatory authority (3)
CAC under a theory of preemption.                                pursuant to a statute that subjects an industry or activity
                                                                 to a comprehensive regulatory authority that (4) requires
D. Primary Jurisdiction Doctrine
                                                                 expertise or uniformity in administration." [**76] Clark,
Primary      jurisdiction   "comes     into   play   whenever    523 F.3d at 1115 (quoting Syntek, 307 F.3d at 781);
enforcement [**75] of the claim requires the resolution          Davel Commc'ns, Inc. v. Qwest Corp., 460 F.3d 1075,
of issues which, [*812] under a regulatory scheme,               1086-87 (9th Cir. 2006) (quoting United States v. Gen.
have been placed within the special competence of an             Dynamics Corp., 828 F.2d 1356, 1363 (9th Cir.1987)).
administrative body; in such a case the judicial process         The Ninth Circuit has recently emphasized that
is suspended pending referral of such issues to the              "efficiency" is a "deciding factor" in whether primary
administrative body for its views." United States v. W.          jurisdiction applies. Astiana, 783 F.3d 753, 2015 WL
Pac. R. Co., 352 U.S. 59, 63-64, 77 S. Ct. 161, 1 L. Ed.         1600205, at *5; Reid, 780 F.3d at 967.
2d 126, 135 Ct. Cl. 997 (1956).
                                                                 If primary jurisdiction applies, a district court should
Primary jurisdiction is a "prudential" doctrine "under           enable a "referral" of the issue to the relevant agency.
which a court determines that an otherwise cognizable            Clark, 523 F.3d at 1115. In practice, this does not
claim implicates technical and policy questions that             require an agency ruling; "the court merely stays or
should be addressed in the first instance by the agency          dismisses proceedings to allow the plaintiff to pursue
with regulatory authority over the relevant industry             administrative remedies." Id.; see also Syntek, 307 F.3d
rather than by the judicial branch." Clark v. Time Warner        at 782 (noting that where there is primary jurisdiction
Cable, 523 F.3d 1110, 1114 (9th Cir. 2008); Reid, 780            "the case should be dismissed without prejudice so that
F.3d at 966. As such, application of the doctrine is             the parties may pursue their administrative remedies").
"committed to the sound discretion of the court." Syntek         A stay, rather than a dismissal, is required where
                                                                 "further judicial proceedings are contemplated" or where
                                                                 prejudice —e.g., the potential running of the statute of
16 If   Congress thought Proposition 65 suits as to safety
                                                                 limitations during administrative proceedings — may
warnings "posed an obstacle to its objectives, it surely would
                                                                 unfairly disadvantage the parties. Astiana, 783 F.3d
have enacted an express pre-emption provision at some point
during the FDCA's 70-year history." Wyeth, 555 U.S. at 574       753, 2015 WL 1600205, at *6.
(holding federal drug labeling laws under the FDCA did not
                                                                 The circumstances requiring application of the primary
preempt state tort claim based on failure to warn). As
                                                                 jurisdiction doctrine have been described as "limited."
discussed above, it has not done so.

                                                      Jonathan Neuman
             Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 30 of 33
                                                                                                            Page 29 of 32
                           108 F. Supp. 3d 780, *812; 2015 U.S. Dist. LEXIS 73336, **76


Clark, 523 F.3d at 1114; Astiana, 783 F.3d 753, 2015              because of concerns about 4-MEI.
WL 1600205, at *5. In general, before "finding that
                                                             Docket No. 83-2, RJN, Ex. A. The FDA has also stated
judicial deferral is warranted" a court should ensure that
                                                             that it plans to "further investigate[]" 4-MeI exposures
there was "Congressional intent to place the initial
                                                             by, among other things, conducting analysis of general
consideration of an issue with an agency." Gen.
                                                             exposures, including from other food products, and
Dynamics Corp., 828 F.2d at 1370 n.13. The Ninth
                                                             analyzing 4-MeI in caramel color samples. Docket No.
Circuit has cautioned that [**77] "the doctrine is not
                                                             83-4, RJN, Ex. B2. The FDA has also stated that it is
designed to 'secure expert advice' from agencies 'every
                                                             considering citizen petitions, such as those from
time a court is presented with an issue conceivably
                                                             Consumer Reports and the Center for Science in The
within the agency's ambit.'" Clark, 523 F.3d at 1114
                                                             Public Interest, which have advocated for more
(quoting Brown v. MCI Worldcom Network Servs., Inc.,
                                                             restrictive regulations, particularly as to how caramel
277 F.3d 1166, 1172 (9th Cir. 2002); see also Reid, 780
                                                             color is permitted to be processed and labeled. Id.; see
F.3d at 966. Primary jurisdiction "is to be used only if a
                                                             also Docket Nos. 83-10, 83-11.
claim requires resolution of an issue of first impression,
or of a particularly complicated issue that Congress has     Nevertheless, the Court concludes that Plaintiffs'
committed to a regulatory agency." Id.; Astiana, 783         allegations regarding Pepsi's materially misleading
F.3d 753, 2015 WL 1600205, at *5; Davel, 460 F.3d at         public statements as well as its failure to warn under
1086. At the motion to dismiss stage the "question is        Proposition 65 do not clearly fall within the labeling
whether any set of facts could be proved which would         jurisdiction of the FDA. This is particularly so where
avoid application of the doctrine." Davel, 460 F.3d at       Congress       has     stated    that   the    NLEA    labeling
1088.                                                        requirements, which Plaintiffs primarily rely upon,17 do

[*813] In this case, Pepsi stresses that the FDA has         not regulate carcinogens. See H.R.Rep. No. [**79] 101-

stated that it is currently considering whether more         538, at 7 (1990), reprinted at 1990 U.S.C.C.A.N. 3336,

stringent guidelines are needed regarding exposure to        3337.

4-MeI from Class III and Class IV caramel coloring. In a
                                                             More importantly, to the extent the FDA has stated any
document available on the FDA's website and entitled
                                                             intent to take action, the FDA appears to have stated
"Questions & Answers on Caramel Coloring & 4-MeI"
                                                             that it is solely considering tightening its restrictions on
the FDA has stated:
                                                             4-MeI. Consequently, dismissing or staying as a matter
    [The FDA] is currently reviewing all available data      of primary jurisdiction is not indicated here because
    on the safety of 4-MEI and is reassessing potential      even "if the FDA were to [take action to regulate the
    consumer exposure to 4-MEI from the use of Class         labeling   and       permitted   amounts      of   4-MeI   more
    III and Class IV caramel coloring in food products.      stringently,] federal law would not dispose of plaintiffs'
    This safety analysis will help FDA determine what,       state law claims." Lockwood, 597 F. Supp. 2d at 1035.
    if any, regulatory action needs to be taken. Such        Moreover, as noted above, states are free to impose
    actions could include setting a limit [**78] on the
    amount of 4-MEI that can be present in caramel           17 Defendant   has cited two regulations purportedly governing
    coloring. However, in the interim, FDA is not            warnings, (21 C.F.R. §§ 101.2, 101.4), yet these regulations
    recommending that consumers change their diets           appear to pertain to standards of identity under the NLEA.

                                                 Jonathan Neuman
              Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 31 of 33
                                                                                                                    Page 30 of 32
                                 108 F. Supp. 3d 780, *813; 2015 U.S. Dist. LEXIS 73336, **79


stricter warnings regarding carcinogens than those                      "technical"); [**81] Jones v. ConAgra Foods, Inc., 912
required under federal law. The Court thus concludes                    F. Supp. 2d 889, 898-99 (N.D. Cal. 2012); Leonhart v.
that Pepsi has not shown that "efficiency," which is the                Nature's Path Foods, Inc., No. 5:13-CV-0492-EJD, 2014
"deciding factor" in primary jurisdiction referrals, would              U.S. Dist. LEXIS 46413, 2014 WL 1338161, at *7 (N.D.
be served by a stay. Rhoades v. Avon Products, Inc.,                    Cal. Mar. 31, 2014) ("Defendant has not demonstrated
504 F.3d 1151, 1165 (9th Cir. 2007).                                    that this Court could not determine whether such claims
                                                                        are misleading without FDA expertise."); Goya, 2015
Moreover, with respect to the FDA's authority as to the
                                                                        U.S. Dist. LEXIS 40159, 2015 WL 1411336, at *12
FDCA's Color Additive Amendments, at least one of the
                                                                        (holding resolution of state law claims does not require
citizen petitions at issue was submitted to the FDA more
                                                                        FDA expertise or undercut uniformity in regulation).
than four years ago. See Docket No. 83-11 (CSPA
citizen    petition,      dated      February         16,     2011).    Finally, although both the Proposition 65 claim and FDA
Consequently, [**80] there does not appear to be any                    regulations do involve some scientific analysis of the
imminent FDA rule-making that would create a risk of                    actual health and safety risk of 4-MeI in Pepsi
inconsistent rulings. See Reid, 780 F.3d at 966                         beverages, invoking the primary jurisdiction doctrine
(declining to invoke the FDA's primary jurisdiction where               would frustrate positive state law on this precise subject.
the FDA had not indicated it would issue a new rule in                  The state of California has evaluated and made a public
over a decade); see also Astiana, 783 F.3d 753, 2015                    safety   determination.    Dismissing      or   staying   the
WL 1600205, at *5 ("Common sense tells us that even                     enforcement action at bar, preventing an adjudication on
when agency expertise would be helpful, a [*814] court                  the merits, would be inconsistent with Congress's desire
should not invoke primary jurisdiction when the agency                  to leave to the states room to enact food safety warning
is aware of but has expressed no interest in the subject                laws as discussed above. The Court therefore DENIES
matter of the litigation.").                                            Pepsi's request to dismiss or stay the action under a
                                                                        theory of primary jurisdiction.
Furthermore, the issues raised by Plaintiffs' claims,
                                                                        E. Abstention in Favor of Pending State Action
particularly its state law misrepresentation claims, do
not clearly require the FDA's expertise or benefit from
                                                                        Pepsi also seeks to dismiss based on abstention.
uniformity in administration. See Reid, 780 F.3d at 967
                                                                        Abstention in favor of a parallel state action may be
("The issue that this case ultimately turns on is whether
                                                                        proper   due    to   considerations   of    "[w]ise   judicial
a   reasonable         consumer      would     be      misled     by
                                                                        administration giving regard [**82] to conservation of
[Defendant's] marketing, which the district courts have
                                                                        judicial resources and comprehensive disposition of
reasonably concluded they are competent to address.");
                                                                        litigation." Nakash v. Marciano, 882 F.2d 1411, 1415
see also Chacanaca v. Quaker Oats Co., 752 F. Supp.
                                                                        (9th Cir. 1989) (quoting Colorado River Water Conserv.
2d 1111, 1124 (N.D. Cal. 2010) (rejecting application of
                                                                        Dist. v. United States, 424 U.S. 800, 817, 96 S. Ct.
primary jurisdiction doctrine as to claims that of
                                                                        1236, 47 L. Ed. 2d 483 (1976)). Such cases are "rare,"
misleading     marketing,        because     "courts    are     well-
                                                                        "limited," and "exceptional," with "only 'the clearest of
equipped to handle" such state-law challenges in the
                                                                        justifications,'" supporting abstention. R.R. St. & Co. v.
food labeling arena); Lockwood, 597 F. Supp. 2d at
                                                                        Transp. Ins. Co., 656 F.3d 966, 977—78 (9th Cir. 2011)
1035 (declining to apply primary jurisdiction doctrine
                                                                        (quoting Colorado River, 424 U.S. at 818-19).
because      definition     of     "all    natural"     was      not

                                                            Jonathan Neuman
                Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 32 of 33
                                                                                                              Page 31 of 32
                               108 F. Supp. 3d 780, *814; 2015 U.S. Dist. LEXIS 73336, **82


In determining whether to stay a case pursuant to                   a final determination in the custody proceeding will

Colorado River,18 courts in the Ninth Circuit consider              resolve all of the issues in Jeremiah's federal Hague

eight factors:                                                      Convention petition, we conclude that the district court
                                                                    abused its discretion in staying proceedings."). Where
     (1) which court first assumed jurisdiction over [the           there is such doubt as to resolution of the federal action,
     case]; (2) the inconvenience of the federal forum;             a Colorado River stay is precluded, and the additional
     (3) the desire to avoid piecemeal litigation; (4) the          factors need not be considered. Intel, 12 F.3d at 915
     order in which the forums obtained jurisdiction; (5)           n.7.
     whether federal law or state law provides the rule of
     decision on the merits; (6) whether the state court            In this case, Pepsi argues that the Court should abstain
     proceedings can adequately protect the rights of               from adjudicating this action in light of a pending state
     the federal litigants; (7) the desire to avoid forum           action, Center for Environmental Health v. Pepsi
     shopping; and (8) [*815] whether the state court               Beverages Co., et al., No. RG14-711020 (Alameda
     proceedings will resolve all issues before the                 Super. Ct., filed Jan. 23, 2014); see Docket No. 83-12
     federal court.                                                 ("CEH Complaint"). The state case, however, only
                                                                    alleges a claim for violation of Proposition 65, and does
R.R. St., 656 F.3d at 978—79. In this analysis, "[n]o one           not [**84] allege any other misstatements or violation of
factor     is   necessarily    determinative;       a   carefully   the UCL and CLRA. Compare CAC ¶¶ 71-90 with CEH
considered judgment taking into account both the                    Complaint. Correspondingly, the CEH action seeks
obligation to exercise jurisdiction and the combination of          recovery of civil penalties under Proposition 65, and
factors counseling against that exercise is required."              does not seek monetary damages and restitution on a
Colorado River, 424 U.S. at 818-19. In other words, the             class basis as this action does. Id. Under Ninth Circuit
decision does not "rest on a mechanical checklist, but              law, "even when a concurrent state proceeding might
on a careful [**83] balancing of the important factors as           address issues relevant to a federal action, the rule is
they apply in a given case, with the balance heavily                that the federal proceeding should go forward." United
weighted in favor of the exercise of jurisdiction." Moses           States v. Rubenstein, 971 F.2d 288, 293-94 (9th Cir.
H. Cone Mem'l Hosp. v. Mercury Const. Corp., 460 U.S.               1992). "Abstention is the exception." Id. Given the fact
1, 16, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983).                     of the broader remedies sought herein and the fact that
                                                                    certain of Plaintiffs' claims that are not based directly on
Nevertheless,      certain    of   the      eight   factors   are
                                                                    Proposition 65, the Court concludes that there is
"dispositive." Intel Corp. v. Advanced Micro Devices,
                                                                    substantial doubt that the state proceedings will resolve
Inc., 12 F.3d 908, 913 (9th Cir. 1993). In particular,
                                                                    the federal action; this precludes a Colorado River stay.
"substantial doubt as to whether the state proceedings
                                                                    Intel, 12 F.3d at 913.
will resolve the federal action precludes the granting of a
stay." Id.; see also Holder v. Holder, 305 F.3d 854, 868            It is true that a partial stay is permissible and does not
(9th Cir. 2002) ("Because there is substantial doubt that           run afoul of Intel or Holder. See Daugherty v.
                                                                    Oppenheimer & Co., No. 06-7725-PJH, 2007 U.S. Dist.
                                                                    LEXIS 51781, 2007 WL 1994187, at *5 (N.D. Cal. July
18 "We   generally require a stay rather than a dismissal." R.R.    5, 2007) (staying third through eleventh causes of action
St., 656 F.3d at 983 n.8 (9th Cir. 2011).                           as "substantially similar" to state claims, because the

                                                        Jonathan Neuman
               Case 1:21-cv-01245-SHR Document 16-2 Filed 12/24/21 Page 33 of 33
                                                                                                         Page 32 of 32
                              108 F. Supp. 3d 780, *815; 2015 U.S. Dist. LEXIS 73336, **84


dispute concerns the same core factual issues of proper          This order disposes of Docket No. 82.
classification of employees and whether employer
                                                                 IT IS SO ORDERED.
denied overtime pay and meal and rest breaks); In re
Countrywide Fin. Corp. Derivative Litig., 542 F. Supp.           Dated: June 5, 2015
2d 1160, 1172 (C.D. Cal. 2008) (agreeing [**85] with
Daugherty and staying only "state law merger-related             /s/ Edward M. Chen

class action claims that are proceeding in nearly
                                                                 EDWARD M. CHEN
identical form in Delaware, under the same laws" and
not derivative claims); ScripsAmerica, Inc. v. Ironridge         United States District Judge
Global LLC, 56 F. Supp. 3d 1121, 2014 WL 5638045, at
*12 (C.D. Cal. 2014). Nonetheless, a partial stay can
                                                                   End of Document
affect the balance of other factors under Colorado River.
In particular, the third factor, the desire to avoid
piecemeal litigation, is not [*816] well-served in this
case by a partial stay. Moreover, in light of the federal
courts' "virtually unflagging obligation to exercise the
jurisdiction conferred upon them by the coordinate
branches of government and duly invoked by litigants"
abstention, even on a partial basis, is not warranted in
this case. United States v. Rubenstein, 971 F.2d 288,
293 (9th Cir. 1992) (quotation omitted). The Court
DENIES Pepsi's request that it abstain from adjudicating
this action.



III. CONCLUSION

For the reasons discussed herein, the Court GRANTS
Defendant's     motion   to    dismiss   Plaintiff   Ibusuki's
Proposition 65 claims on notice grounds. Otherwise, the
Court DENIES Pepsi's motion to dismiss. Plaintiff Hall's
Proposition 65 notice was timely, because she did not
commence a Proposition 65 action until she added a
direct claim under Proposition 65 in the CAC after giving
notice. Plaintiffs' claims arising out of [**86] material
misrepresentation in Pepsi's public statements and out
of the alleged violation of Proposition 65 are not
preempted. The Court DENIES Defendant's motion to
stay or dismiss under primary jurisdiction and abstention
doctrines.

                                                     Jonathan Neuman
